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                   EXHIBIT 1
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                         PUBLIC VERSION

Trials@uspto.gov                                               Paper 19
571-272-7822                                       Date: March 19, 2024



     UNITED STATES PATENT AND TRADEMARK OFFICE

       BEFORE THE PATENT TRIAL AND APPEAL BOARD


                   BIONTECH SE AND PFIZER INC.,
                           Petitioners,
                                   v.
                         MODERNA TX INC.,
                           Patent Owner.


                           IPR2023-01358
                         Patent 10,702,600 B1



Before SHERIDAN K. SNEDDEN, TIMOTHY G. MAJORS, and
DAVID COTTA, Administrative Patent Judges.
COTTA, Administrative Patent Judge

                              DECISION
            Granting Institution of Inter Partes Review and
            Granting the Parties’ Respective Motions to Seal
              Granting Request to Enter Protective Order
               35 U.S.C. § 314; 37 C.F.R. § 42.14, 42.54
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                          I.      INTRODUCTION
      BioNTech SE and Pfizer Inc. (collectively “Petitioner”) filed a
Petition to institute an inter partes review (“IPR”) of claims 1, 2, 4–6, 8–12,
16, 17, 20, 21, and 26 (the “challenged claims”) of U.S. Patent No.
10,702,600 B1 (“the ’600 patent”). Paper 3 (“Petition” or “Pet.”). Moderna
Tx, Inc. (“Patent Owner”) filed a Preliminary Response. Paper 8 (“Prelim.
Resp.”). With our prior authorization, Petitioner filed a Reply to Patent
Owner’s Preliminary Response (Paper 9, “Prelim. Reply”) and Patent Owner
filed a Sur-reply (Paper 14, “Prelim. Sur-reply”). Also with our prior
authorization, Patent Owner and Petitioner filed statements regarding Patent
Owner’s allegedly inconsistent positions (Papers 10 and 13).
      Under 35 U.S.C. § 314(a), inter partes review may not be instituted
unless the Petition “shows that there is a reasonable likelihood that the
petitioner would prevail with respect to at least 1 of the claims challenged in
the petition.” Petitioner has established a reasonable likelihood of prevailing
on its assertion that the challenged claims are unpatentable based on the
grounds advanced here. We decline to deny the Petition on a discretionary
basis as requested by Patent Owner. Thus, for reasons explained below, we
institute inter partes review of claims 1, 2, 4–6, 8–12, 16, 17, 20, 21, and 26
of the ’600 patent.
      Findings and conclusions at this stage are preliminary and based on
the current record. Any final decision will be based on a full trial record.

      A.     Real Parties-in-Interest
      Petitioner identifies BioNTech SE, BioNTech US Inc., BioNTech
Manufacturing GmbH, and Pfizer Inc. as the real parties-in-interest. Pet. 3.

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Patent Owner identifies itself and Moderna US, Inc. as the real parties-in-
interest. Paper 6, 1.

      B.     Related Matters
      The parties identify as a related matter the following lawsuit involving
the ’600 patent (and other patents): ModernaTX, Inc. et al. v. Pfizer Inc.,
BioNTech SE, et al., 1:22-cv-11378-RGS (D. Mass) (hereafter
“Massachusetts Litigation”); Pet. 3; Paper 6, 1.
      Petitioner also identifies U.S. Application No. 16/880,829, which
application issued in 2021 as U.S. Patent No. 10,933,127 (“the ’127 patent”).
Pet. 3. Patent Owner states that the ’127 patent is also asserted in the
Massachusetts Litigation. Paper 6, 1–2 (listing, as related, several other
patents and applications). Claims of the ’127 patent are challenged in
IPR2023-01359 (Paper 6, 1; Pet. 3), in which we institute trial concurrent
with this decision.

      C.     The ’600 Patent
      The ’600 patent is titled “Betacoronavirus mRNA Vaccine.”
Ex. 1001, code (54) (capitalization omitted). The ’600 issued from an
application filed February 28, 2020. Id. at code (22). The ’600 patent
further claims priority to several other, earlier-filed applications, including
non-provisional applications filed in 2017 and 2018 that issued as U.S.
Patent Nos. 10,272,150 (“the ’150 patent”) and 10,064,934 (“the
’934 patent”). Id. at code (63). The ’600 patent also claims priority to nine
provisional applications, the earliest of which were filed October 22, 2015.
Id. at code (60).


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      According to the ’600 patent, “[r]espiratory disease is a medical term
that encompasses pathological conditions affecting the organs and tissues
that makes gas exchange possible in higher organisms.” Id. at 1:27–32
(explaining that such disease includes, for example, conditions of the upper
respiratory tract, bronchi, alveoli, and the nerves and muscles that affect
breathing). Further, the patent explains, “[r]espiratory disease is a common
and significant cause of illness and death around the world.” Id. at 1:35–37.
      The ’600 patent provides, as background, an overview of various
viruses and the respiratory diseases that such viruses may cause. Id. at 1:27–
3:9. The ’600 patent identifies, among other viruses, Parinfluenza virus type
3 (PIV3), Respiratory Syncytial Virus (RSV), and Betacoronaviruses
(BetaCoVs). Id. (explaining that PIV3 and RSV are negative-sense, single-
stranded RNA viruses of the Pneumovirinae genus). Regarding
Betacoronaviruses, the ’600 patent states:
      Betacoronviruses (BetaCoVs) are one of four genera of
      coronaviruses of the subfamily Coronavirinae in the family
      Coronaviridae . . . . They are enveloped, positive-sense, single-
      stranded RNA viruses of zoonotic origin. . . . The BetaCoVs of
      the greatest clinical importance concerning humans are OC43
      and HKU1 of the A lineage, SARS-CoV of the B lineage, and
      MERS-CoV of the C lineage.
Id. at 2:47–57. The ’600 patent notes the prior reported outbreaks of MERS-
CoV between 2012 and 2015. Id. at 2:60–35. Further, the ’600 patent
reports that SARS “emerged in China in 2002 and spread to other countries
before [being] brought under control.” Id. at 3:4–6. However, “[b]ecause of
a concern for reemergence or a deliberate release of the SARS coronavirus,
vaccine development was initiated.” Id. at 3:6–8.


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      In summarizing the invention, the ’600 patent states:
             Provided herein are ribonucleic acid (RNA) vaccines that
      build on the knowledge that RNA (e.g., messenger RNA
      (mRNA)) can safely direct the body’s cellular machinery to
      produce nearly any protein of interest, from native proteins to
      antibodies and other entirely novel protein constructs that can
      have therapeutic activity inside and outside of cells. The RNA
      (e.g., mRNA) vaccines of the present disclosure may be used to
      induce a balanced immune response against hMPV, PIV, RSV,
      MeV, and/or BetaCoV (e.g., MERS-CoV, SARS-CoV, HCoV-
      OC43, HCoV-229E, HCoV-NL63, HCoV-NL, HCoV-NH
      and/or HCoV-HKUl), or any combination of two or more of the
      foregoing viruses, comprising both cellular and humoral
      immunity, without risking the possibility of insertional
      mutagenesis[.]
Id. at 3:24–37. According to the ’600 patent, “[t]he RNA (e.g., mRNA)
vaccines have superior properties in that they produce much larger antibody
titers and produce responses earlier than commercially available anti-viral
therapeutic treatments.” Id. at 3:56–59. Moreover, the ’600 patent explains,
“[u]nlike traditional vaccines, which are manufactured ex vivo and may
trigger unwanted cellular responses, RNA (e.g., mRNA) vaccines are
presented to the cellular system in a more native fashion.” Id. at 3:64–3:67.
      More specifically, the ’600 patent states that, in embodiments, the
BetaCoV is, for example, MERS-CoV or SARS-CoV, and the vaccine
comprises at least one mRNA polynucleotide that encodes a BetaCoV
antigenic polypeptide. Id. at 7:15–23. The encoded BetaCoV polypeptide
may be a structural protein such as a spike protein (S) or a subunit or
immunogenic fragment thereof. Id. at 7:25–28; see also id. at 213:57–
214:10 (Example 23, mouse study using an mRNA vaccine encoding


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MERS-CoV spike protein and subunit), 214:11–214:66 (Example 24, rabbit
study using mRNA vaccine encoding MERS-CoV spike protein). The ’600
patent also discloses that the vaccine may comprise the mRNA
polynucleotide formulated in a cationic lipid nanoparticle. Id. at 4:1–5.

        D.    Challenged Claims
        The ’600 patent includes 26 claims, of which claims 1, 2, 4–6, 8–12,
16, 17, 20, 21, and 26 are challenged here. Claim 1 is illustrative of the
subject matter of the challenged claims and is reproduced below.
        1.    A composition, comprising: a messenger ribonucleic acid
        (mRNA) comprising an open reading frame encoding a
        betacoronavirus (BetaCoV) S protein or S protein subunit
        formulated in a lipid nanoparticle.
Ex. 1001, 737:26–29.


        E.    Asserted Grounds of Unpatentability
        Petitioner asserts that claims 1, 2, 4–6, 8–12, 16, 17, 20, 21, and 26
would have been unpatentable on the following grounds:
    Claim(s) Challenged      35 U.S.C. § 1           Reference(s)/Basis
    1, 2, 4–6, 8–12, 16,
                                102(a)        Schrum 2
    17, 20, 21, 26
1
  The Leahy-Smith America Invents Act (“AIA”), Pub. L. No. 112–29, 125
Stat. 284, 285–88 (2011), revised 35 U.S.C. §§ 102, 103 effective March 16,
2013. Petitioner asserts that the earliest date to which ’600 patent claims
priority is October 22, 2015. Pet. 2–3. Because that date falls after the
effective date of the applicable AIA amendments, we apply the AIA
versions of §§ 102 and 103 here.
2
  de Fougerolles et al., US 2013/0266640 A1, publ. Oct. 10, 2013 (Ex. 1009
(“Schrum”)). Because the parties refer to this reference as “Schrum” rather
than by the name of the first listed author, we do the same.

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    Claim(s) Challenged      35 U.S.C. § 1          Reference(s)/Basis
    1, 2, 4–6, 8–12, 16,
                                 103          Schrum, Geall 3
    17, 20, 21, 26
    1, 2, 4–6, 8–12, 16,
                                 103          Schrum, Yang 4
    17, 20, 21, 26
    1, 2, 4–6, 8–12, 16,
                                 103          Schrum, Altmeyer 5
    17, 20, 21, 26
         Petitioner relies on the declarations of Dr. Daniel O. Griffin
(Ex. 1002) and Dr. James J. Moon (Ex. 1004).

                     II.     EXERCISE OF DISCRETION
        Patent Owner contends that we should exercise our discretion to deny
institution because “Petitioner presents the same invalidity positions in
parallel litigation between the same parties, in which trial is likely to be
completed months before a Final Written Decision in this proceeding.”
Prelim. Resp. 16. Additionally, Patent Owner argues that Petitioner relies on
substantially the same prior art as was considered during patent prosecution
with no showing that the Examiner materially erred in granting the ’600
patent. Id. at 25. We address these issues below.

        A.    Discretion under 35 U.S.C. § 325(d)
        The Board has discretion under 35 U.S.C. § 325(d) to reject a petition
when the same or substantially the same prior art or arguments were


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  Geall, WO 2012/006369 A2, publ. Jan. 12, 2012 (Ex. 1010 (“Geall”)).
4
  Zhi-yong Yang et al., A DNA vaccine induces SARS coronavirus
neutralization and protective immunity in mice, 428 Nature 561–564 (Apr. 1,
2004) (Ex. 1011 (“Yang”)).
5
  Altmeyer et al., WO 2005/118813 A2, publ. Dec. 15, 2005 (Ex. 1012
(“Altmeyer”)).

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presented previously in another proceeding before the Office. The relevant
portion of that statute reads:
       In determining whether to institute or order a proceeding . . . , the
       Director may take into account whether, and reject the petition
       or request because, the same or substantially the same prior art
       or arguments previously were presented to the Office.
35 U.S.C. § 325(d). In evaluating whether to deny institution under 325(d),
the Board has considered several non-exclusive factors: (a) the similarities
and material differences between the asserted art and the prior art involved
during examination; (b) the cumulative nature of the asserted art and the
prior art evaluated during examination; (c) the extent to which the asserted
art was evaluated during examination; (d) the extent of the overlap between
the arguments made during examination and the manner in which a
petitioner relies on the prior art or a patent owner distinguishes the prior art;
(e) whether a petitioner has pointed out sufficiently how the Office erred in
evaluating the asserted prior art; and (f) the extent to which additional
evidence and facts presented in the petition warrant reconsideration of the
prior art or arguments. See Becton, Dickinson & Co. v. B. Braun Melsungen
AG, IPR2017-01586, Paper 8 at 17–18 (PTAB Dec. 15, 2017) (precedential
as to § III.C.5, first para.).
       Factors (a), (b), and (d) relate to whether the art or arguments in the
Petition are the same or substantially the same as those previously presented
to the Office. Advanced Bionics, LLC v. MED-EL Elektromedizinische
Geräte GmbH, IPR2019-01469, Paper 6 at 10 (PTAB Feb. 13, 2020)
(precedential) (“Advanced Bionics”). Factors (c), (e), and (f) “relate to



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whether the petitioner has demonstrated a material error by the Office” in
the Office’s prior consideration of that art or arguments. Id.
      Under Advanced Bionics’s two-part framework, we first determine
whether the same or substantially the same art or arguments previously were
presented to the Office. Id. at 8, 10. If “either condition of [the] first part of
the framework is satisfied,” we then determine whether material error by the
Office has been shown. Id. at 8, 10.
      Patent Owner argues that the first part of the Advanced Bionics
framework is met because Petitioner’s prior art and arguments are the same
as, or cumulative to, the art and argument that were considered during
prosecution of the ’600 patent or related patents. Prelim. Resp. 25–35;
Prelim. Sur-reply 6–8.
      Patent Owner contends that Schrum was submitted during prosecution
of the ’600 patent in an Information Disclosure Statement (“IDS”) and that
Schrum and Geall were cited in IDSs during prosecution of the ’127 patent.
Prelim. Resp. 25 (citing Ex. 1008, 488), 26 (citing Ex. 2016, 468, 536).
And, Patent Owner contends that Yang is cumulative to another reference
(Nabel, Ex. 2020) also cited in an IDS during prosecution of the ’127 patent.
Id. at 26 (citing Ex. 1008, 536).
      Patent Owner contends that, during prosecution of the related
’934 and ’599 patents, applicant traversed obviousness rejections over a
combination of Haller (Ex. 2022), Geall 2012 (Ex. 2021), and the ’482
Publication (Ex. 2019). Prelim. Resp. 26–27; Ex. 2017, 1137–1157 (Office
Action), 1165–1170 (applicant’s responsive remarks), 1202–1206 (Notice of
Allowance); Ex. 2018, 431–447 (Office Action), 454–459 (applicant’s


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responsive remarks), 482–485 (Notice of Allowance). According to Patent
Owner, Schrum (asserted by Petitioner in this proceeding) and the ’482
Publication are both Moderna patent applications that include many
overlapping disclosures and incorporate Geall in substantially the same way.
Prelim. Resp. 29 (“Like Schrum, the ’482 Publication focuses on mRNA for
therapeutic proteins, not vaccines.”); compare Ex. 1009 ¶ 342, with Ex. 2019
¶ 929. 6 Patent Owner contends that the Examiner relied on Geall 2012 as
teaching lipid nanoparticle formulations similar to how Petitioner relies on
Geall here as teaching those limitations. Prelim. Resp. 30–31. And, Patent
Owner contends, Petitioner’s asserted Altmeyer reference teaches “viral
vector vaccines” and is “substantially similar” to Haller, which was cited by
the Examiner during prosecution of the ’934 and ’599 patents. Id. at 32–33.
      Petitioner, for its part, argues that discretionary denial is not justified.
Pet. 68–70; Prelim. Reply 5–8. Petitioner contends that Schrum and Geall,
although identified in IDSs among hundreds of other references, were not
substantively considered by the Examiner. Pet. 69. Petitioner contends that
Yang and Altmeyer were not previously before the Office. Id. at 68–69.
And, Petitioner argues that the Examiner erred, having raised no prior art
rejections against the claims of the ’600 patent, including no rejection based
on Schrum and Geall. Id. at 69–70; Ex. 1008, 448–454 (enablement
rejection); Prelim. Reply 5–8 (suggesting the Office erred in overlooking the
art’s material disclosures as cited in the Petition’s grounds, and asserting that



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 The ’482 Application is also referred to as “Bancel” during the relevant
prosecutions. See, e.g., Ex. 2018, 440–441, 456–457.

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the prosecution of related patents involved combinations of different
references and different claims).
      For purposes of our analysis and satisfaction of the first part of the
Advanced Bionics framework, we will assume that the Office was previously
presented with substantially the same or otherwise cumulative prior art.7
There is no dispute here that Schrum, Geall, and Nabel (allegedly
cumulative to Yang 8) were identified on examiner-signed IDSs. That is
sufficient to establish that such art was previously presented to the Office.
Advanced Bionics at 7–8 (“Previously presented art includes art made of
record by the Examiner, and art provided to the Office by an applicant, such
as on an Information Disclosure Statement (IDS), in the prosecution history
of the challenged patent”).
      Whether Altmeyer is cumulative is a closer call. Petitioner contends
that Altmeyer is distinct from Haller because Altmeyer describes nucleic
acid molecules that encode a SARS CoV spike protein, whereas Haller does
not. Prelim. Reply. 7. Even if that is true, Patent Owner contends the key
issue is not the immunogen targeted in Altmeyer or Haller but the



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  We will also assume, for this analysis, that art and arguments raised during
prosecution of the parent ’599 and ’934 patents can be considered in
determining whether the challenge to the child ’600 patent should be denied
on the basis of discretion under § 325(d). Cf. Apple, Inc. v. Seven Networks,
LLC, IPR2020-00266, Paper 12 at 23–24 (PTAB Aug. 14, 2020) (assuming
the claims at issue were patentably indistinct from those of a related
application and moving to the second part of Advanced Bionics based on art
and arguments presented during prosecution of the child application).
8
  Petitioner provides no counterargument to Patent Owner’s contention that
Yang is cumulative to Nabel. See generally Prelim. Reply.

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references’ overlap in vaccine delivery—viral vector, not mRNA
polynucleotides, in both references. Prelim. Sur-reply 8. Again, for purposes
of this analysis, we will assume Patent Owner’s assertion of cumulativeness
is accurate.
      If either condition (substantially the same art or arguments) of the first
part of the Advanced Bionics framework is met, the Board generally
proceeds to the second part of that framework and determines whether the
Office erred. Before we do so, however, we note that, on balance,
substantially the same arguments as raised by Petitioner here were not
previously presented to the Office during prosecution of the related ’599 and
’934 patents. Schrum and Geall were never asserted by the Examiner in any
rejection during those prosecutions. Inasmuch as Patent Owner contends
that Schrum and the ’482 Publication are cumulative in their teachings, the
way Schrum is applied here versus how the ’482 Publication was applied
during prosecution differs materially. The ’482 Publication was cited only
for its teachings about RNA encoding 5´ terminal caps and modifications to
the uracil content of mRNA, as recited in certain dependent claims of the
related patents. See, e.g., Ex. 2018, 440–442, 449 (claims 137–1399). The
’482 Publication was not cited as an anticipatory reference, nor was it cited
in any obviousness rejection as teaching or suggesting a use of mRNA
vaccines, much less mRNA vaccines that encode viral immunogens, such as
argued by Petitioner here with respect to the allegedly cumulative Schrum


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 The rejected claims required an RNA polynucleotide and were amended,
after the Examiner’s rejection, to require, inter alia, an “(mRNA)”
polynucleotide. See, e.g., Ex. 2018, 449.

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reference. See, e.g., Pet. 22–42. In fact, during prosecution of the related
patents, applicant sought to distinguish Haller, and Geall 2012 as related,
respectively, to vaccines comprising chimeric PIV (parainfluenza) viruses,
self-amplifying RNA, and siRNA—not, according to applicant, mRNA
vaccines like claimed.10 See, e.g., Ex. 2018, 454–457 (arguing “none of the
references of record teaches or suggests mRNA polynucleotides used as
components of a vaccine” and arguing that the ’482 Publication “does not
make up for the deficiencies of” Haller, etc.). Neither Examiner nor
applicant grappled during prosecution with Petitioner’s argument in this case
that Schrum (or the ’482 Publication, if it is cumulative) discloses mRNA-
based vaccines, contrary to what applicant suggested was missing in the
references of record.
      Patent Owner nonetheless contends that the arguments about the ’482
Application are the same as Petitioner’s arguments about Schrum. Prelim.
Resp. 29–30. According to Patent Owner, “Moderna distinguished the ’482
Publication because it relates to ‘methods of protein production, not to viral
vaccines.’” Id. (quoting Ex. 2018, 456 (with Patent Owner’s emphasis)).
And, Patent Owner argues, “Petitioner likewise relies on Schrum as


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   There are also differences in the claims at issue during prosecution of the
’599 and ’934 patents. For example, during prosecution of the ’934 patent,
the Examiner determined that “[t]he claims as written do not exclude mRNA
that is within a viral particle.” Ex. 2018, 466 (interview summary discussing
applicant’s arguments on Haller). This prompted applicant to amend the
claims further to recite “an isolated messenger ribonucleic acid (mRNA).”
Id. at 468; see also Ex. 2017, 1208 (similarly reciting “an isolated messenger
ribonucleic acid (mRNA)”). The “isolated” language is missing in the
challenged claims here.

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purportedly teaching viral vaccines.” Id. at 30 (citing, e.g., Pet. 21–23).
Patent Owner is conflating different issues. “[V]iral vaccines,” in the
context that the term was used in the cited prosecution history was plainly
referencing the vaccine delivery vehicle of Haller—engineered viral
vaccines (and not mRNA), according to applicant. Ex. 2018, 454–456
(arguing that the “vaccine formulations of Haller et al., comprise chimeric
PIV viruses” and, in Haller, any cDNA or RNA constructs are “not
components of a vaccine” and instead “are packaged with virus and
amplified in Vero cells” before “[t]he engineered virus . . . [is] used as a
vaccine against a viral infection”). Indeed, the quote in full related to
whether a POSA would have been motivated to combine the
’482 Application with the other references, which applicant argued a POSA
would not, because the ’482 Application “relates to methods of protein
production, not to viral vaccines of Haller et al., self-replicating vaccines of
Geall et al., or siRNA molecules of Heyes, et al.” Id. at 456. 11 In contrast,
Petitioner here is arguing that Schrum discloses mRNA vaccines that encode
for immunogenic viral proteins. See, e.g., Pet. 21–23.
      Turning to the second part of the Advanced Bionics framework, based
on the present evidentiary record, we determine that the Office materially
erred in allowing the challenged claims. Even if the Office was previously
presented with Schrum and Geall, there is no indication that the Examiner
appreciated the full scope of their disclosure. Further, as explained in § III,


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  Insofar as applicant’s argument suggests that the ’482 Application’s
relevant teachings were limited to “protein production” and not vaccines, the
argument is also wrong, as we discuss below.

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we find that the merits of Petitioner’s showing at this stage for at least
Ground 2 are compelling based on the alleged obviousness of the challenged
claims over the combined teachings of Schrum and Geall. The strength of
Petitioner’s threshold showing on this ground supports a conclusion that the
Office erred in overlooking those references’ material teachings in route to
allowing the claims of the ’600 patent without a single prior art rejection
being made.
      In arguing the absence of any Office error, Patent Owner again relies
heavily on the Office’s consideration of allegedly cumulative art in earlier
prosecution of related patents. Prelim. Resp. 34–35; Prelim. Sur-reply 6–8.
This argument does not withstand scrutiny. Indeed, the Office’s
consideration of the cited art in related prosecutions (assuming the art is
cumulative) supports a finding of material error. As we discussed above,
during prosecution of the related patents, applicant suggested that the
references of record, including Haller, Geall 2012, and the ’482 Application
did not teach mRNA polynucleotides used for vaccines. See, e.g., Ex. 2018,
454–457. But that is not accurate. At least the ’482 Application, similar to
Schrum, does disclose mRNA vaccines—at least one section of the reference
is devoted to this topic. Ex. 2019 ¶¶ 928–937 (disclosing, for example,
mRNA that may encode an immunogen and be delivered in an amount
sufficient to be immunogenic in a vertebrate, and may, for example, encode
all or a part of a positive- or negative-sense stranded RNA virus genome).




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Applicant’s position was, thus, contradicted by disclosure in the
’482 Application that the Examiner seemingly overlooked.12
      Patent Owner argues that the Examiner’s “silence is insufficient to
show material error.” Prelim. Resp. 34. That may be true under some
circumstances, but is not always so. The Examiner’s silence in response to
an assertion from applicant that is plainly refuted by disclosure in the
references of record suggests that the Examiner overlooked such disclosure
and demonstrates error. As we discuss herein, we determine that Petitioner
has established a reasonable likelihood of prevailing on the merits of at least
Ground 2. Even if Schrum and Geall were before the Office (as having been
cited in IDSs, but not applied in any rejection), we find that the Office erred
in overlooking those references’ relevant teachings. We also have expert
testimony from Drs. Griffin and Moon on Ground 2 that is presently
unrebutted—evidence that was not before the Office previously. This
additional evidence further undermines the case for discretionary denial.
Lastly, to the extent Patent Owner relies on the prosecution histories of
related patents, as we explained above, those histories suggest that key

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  Applicant also stated during prosecution of the ’934 patent that the
’482 Application “relates to methods of protein production” and not, “self-
replicating vaccines of Geall [2012].” Ex. 2018, 456. This too is
undermined by the ’482 Application, which does not concern only generic
“protein production” as asserted; the reference includes a section describing
mRNA vaccines and further, in that section, cites approvingly to the vaccine
formulations in Geall 2012. See, e.g., Ex. 2019 ¶ 933. The notion that the
’482 Application is unrelated to Geall 2012’s vaccines or that Geall 2012
“teaches away” from mRNA vaccines (as argued during prosecution) is in
tension with the ’482 Application itself (an application filed and owned by
Patent Owner). Ex. 2019, codes (71), (73); Ex. 2017, 1166–1167.

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disclosures in the ’482 Application (for which Schrum is allegedly
cumulative) were overlooked, and that oversight likely carried forward into
the ’600 patent’s prosecution.
      For the reasons above and based on the record before us, we conclude
that the Office materially erred in allowing the challenged claims. We,
therefore, decline to deny the Petition under § 325(d).

      B.     Discretion Under 35 U.S.C. § 314(a)–– Fintiv
      Institution of an inter partes review is discretionary. See 35 U.S.C.
§ 314(a) (authorizing institution of an inter partes review under particular
circumstances, but not requiring institution under any circumstances);
Cuozzo Speed Techs., LLC v. Lee, 579 U.S. 261, 273 (2016) (“[T]he
agency’s decision to deny a petition is a matter committed to the Patent
Office’s discretion.”); SAS Inst. Inc. v. Iancu, 138 S. Ct. 1348, 1356 (2018)
(“[Section] 314(a) invests the Director with discretion on the question
whether to institute review . . . .” (emphasis omitted)).
      In the Preliminary Response, Patent Owner contends that we should
exercise our discretion to deny the Petition because the Massachusetts
Litigation will likely to be completed months before a Final Written
Decision in this proceeding. Prelim. Resp. 16–25.
      When determining whether to exercise discretion to deny institution in
view of a parallel proceeding, we consider the following factors:
      1. whether the court granted a stay or evidence exists that one
         may be granted if a proceeding is instituted;
      2. proximity of the court’s trial date to the Board’s projected
         statutory deadline for a final written decision;



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      3. investment in the parallel proceeding by the court and the
         parties;
      4. overlap between issues raised in the petition and in the
         parallel proceeding;
      5. whether the petitioner and the defendant in the parallel
         proceeding are the same party; and
      6. other circumstances that impact the Board’s exercise of
         discretion, including the merits.
Apple Inc. v. Fintiv, Inc., IPR2020-00019, Paper 11 at 5–6 (PTAB Mar. 20,
2020) (precedential) (“Fintiv”). “These factors relate to whether efficiency,
fairness, and the merits support the exercise of authority to deny institution
in view of an earlier trial date in the parallel proceeding.” Id. In evaluating
these factors, we “take[] a holistic view of whether efficiency and integrity
of the system are best served by denying or instituting review.” Id. at 6. We
consider each of these factors below.
      On June 21, 2022, the Director of the United States Patent and
Trademark Office issued a Memorandum setting forth an “Interim Procedure
for Discretionary Denials in AIA Post Grant Proceedings with Parallel
District Court Litigation.” (“Guidance Memo”). The Guidance Memo
states that “to benefit the patent system and the public good, the PTAB will
not rely on the Fintiv factors to discretionarily deny institution in view of
parallel district court litigation where a petition presents compelling
evidence of unpatentability.” Id. at 2. “Compelling, meritorious challenges
are those in which the evidence, if unrebutted in trial, would plainly lead to a
conclusion that one or more claims are unpatentable by a preponderance of
the evidence.” Id. at 4.
      With these Fintiv factors and the Director’s guidance in mind, we
consider the parties’ contentions.

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      In the analysis that follows, we first consider whether Fintiv factors
1–5 weigh in favor of exercising our discretion to deny institution. For the
reasons discussed below, we conclude that Fintiv factors 1–5 weigh in favor
of denying institution. Because Fintiv factors 1–5 favor denial of institution,
we must also determine whether the Petition presents compelling merits.
See CommScope Techs. LLC v. Dali Wireless, Inc., IPR2022-01242, Paper
23 at 4 (PTAB Feb. 27, 2023) (precedential) (“In circumstances where . . .
the Board’s analysis of Fintiv factors 1–5 favors denial of institution, the
Board shall then assess compelling merits.”).
             1.       Likelihood of a Stay (Factor 1)
      Fintiv factor 1 recognizes that a stay of litigation pending resolution
of the PTAB trial allays concerns about inefficiency and duplication of
efforts, which strongly weighs against exercising the authority to deny
institution. Fintiv, Paper 11 at 6.
      Petitioner argues that this factor is neutral, asserting that “the Board
need not speculate as to the likelihood of the district court entering a stay.”
Pet. 66. Patent Owner asserts that Petitioner has not requested a stay of the
Massachusetts Litigation and there is no evidence that a stay would be
granted. Prelim. Resp. 17–18. Patent Owner points to the advanced stage of
the Massachusetts Litigation (see infra § II.B.3) and the fact that Petitioner
did not file an IPR challenging one of the three patents asserted in that
litigation as supporting that “[t]his factor favors denying institution, or is at
least neutral.” Id.
      We decline to speculate on how the court may rule on a motion for a
stay should one be filed. Accordingly, this factor is neutral. Apple Inc. v.


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Fintiv, Inc., IPR2020-00019, Paper 15 at 12 (PTAB May 13, 2020)
(informative) (explaining that factor 1 generally “does not weigh for or
against discretionary denial” when neither party has requested a stay).
             2.     Proximity of Trial Date to Projected Deadline (Factor 2)
      Fintiv factor 2 looks to the “proximity of the court’s trial date to the
Board’s projected statutory deadline.” Fintiv, Paper 11 at 9. The Board’s
projected statutory deadline for reaching a final written decision in this
matter is early March 2025. The estimated date for trial before the district
court is discussed further below.
      As explained in Fintiv, “[i]f the court’s trial date is earlier than the
projected statutory deadline, the Board generally has weighed this fact in
favor of exercising authority to deny institution.” Id. The Guidance Memo
recognizes that “[a] court’s scheduled trial date . . . is not by itself a good
indicator of whether the district court trial will occur before the statutory
deadline for a final written decision.” Guidance Memo, 8. The Guidance
Memo thus authorizes the parties to “present evidence regarding the most
recent statistics on median time-to-trial for civil actions in the district court
in which the parallel litigation resides” and instructs the Board to consider
such information along with “additional supporting factors such as the
number of cases before the judge in the parallel litigation and the speed and
availability of other case dispositions.” Id. at 8–9 (footnote omitted).
      Here, the Massachusetts Litigation was filed in August 2022, but a
trial date has not been set because Judge Stearns’s practice is not to set a trial
date until dispositive and Daubert motions are decided. Prelim. Resp. 18–




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19. Briefing on dispositive and Daubert motions is set to conclude in the
Massachusetts Litigation on July 26, 2024. Id. at 19.
        Petitioner argues that this factor is neutral “because trial is not yet
scheduled.” Pet. 67. In projecting when trial will occur, Petitioner directs us
to the median time to trial statistics for the period from 2018–2023, which is
32.2 months. Prelim. Reply 3–4 (citing Ex. 2013). Petitioner also argues
that Judge Stearns has had only two patent cases in the last ten years, and in
those cases, the times between the filing and resolution of [dispositive pre-
trial] motions were 294 days and 168 days. Id. at 4 n.3.
        Patent Owner argues that this factor “strongly favors denying
institution.” Prelim. Resp. 18–19. As support, Patent Owner directs us to
the median time for the 12-month period ending in June 2023—26.0
months—and argues that this would result in a trial date “around October
2024.” Id. at 18–19 (citing Ex. 2013). In addition, Patent Owner argues that
“Judge Stearns has expeditiously decided motions in the case, for example,
issuing a Markman order just five days after the hearing.” Id. As to the two
patent cases Petitioner relies upon as predictive of how long it will take
Judge Stearns to resolve dispositive motions, Patent Owner argues that one
of those cases should be disregarded as “not representative because briefing
concluded just before the pandemic.” Prelim. Sur-reply 3–4. Patent Owner
asserts that the other of Judge Stearns’ patent cases is “[m]ore analogous”
and, in that case, Judge Stearns issued orders “2.5 months after briefing
ended.” Id. at 4 (emphasis omitted). According to Patent Owner, assuming
2.5 months to resolve dispositive motions would result in trial date in late
2024.


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      We begin our analysis by considering the median time-to-trial
statistics. Both parties rely on data from the table reproduced below.




Ex. 2013, 4. The table above is an excerpted version of a table entitled
“U.S. District Court – Judicial Caseload Profile.” The table includes a
subheading indicating that the data in the table is for Massachusetts. Among
other things, the table provides the median time, in months, from filing to
trial for civil cases for the 12-month periods ending on June 30 for each year
from 2018–2023. As discussed above, Patent Owner relies on the 26.0
months median time-to-trial for the most recent time period—the 12-month
period ending June 30, 2023—and Petitioner relies on the 32.2-month
average median time-to-trial for the entire period from 2018–2023.
      Although the 26.0-month figure Patent Owner relies upon reflects the
most current time-to-trial data, it appears to be somewhat of an outlier. The
5 years preceding the period ending June 30, 2023, had significantly higher
median time-to-trial lengths ranging from 30.7 to 35.6 months. Patent
Owner argues that the 32.2-month average time to trial that Petitioner relies
upon includes data from 2018–2022 that are “outdated and artificially inflate
time to trial by using statistics from years impacted by the COVID-19
pandemic.” Prelim. Sur-reply 3. We agree that the 12-month periods ending
June 30, 2020 and June 30, 2021 may have been impacted by the COVID-19


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pandemic. But those years appear generally consistent with the time-to-trial
lengths for unaffected years. Even excluding the COVID-19 affected years,
the median time-to-trial for the periods ending June 30, 2018 and June 30,
2019 were 34.8 and 30.7 months and the median time-to-trial for the period
ending June 30, 2022, was 34.5.
      Absent explanation (such as a change in the rules or number of
judges) for why median time-to-trial dropped in 2023, it is not clear that the
data for 2023 is a more reliable indicator of how long it will take for the
Massachusetts Litigation to reach trial than the average time-to-trial over the
six-year period from 2018–2023. Conversely, we cannot simply ignore that
the most recent year reflects a significantly lower time-to-trial than the six-
year average. For purposes of this analysis, we start with the average time-
to-trial of 32.2 months and reduce it to account for the reduction shown in
the median time-to-trial for the most recent year for which we have data.
More specifically, we assume an average time-to-trial of 30 months. This
supports a trial date in February of 2025.
      We next consider how quickly Judge Stearns is likely to resolve
dispositive motions. The parties agree that Judge Stearns has only heard two
patent cases in the last ten years. Prelim. Reply 4 n.3; Prelim. Sur-reply 3–4.
We agree with Patent Owner that the time it took Judge Stearns to resolve
dispositive motions for one of these cases is not representative because
briefing concluded just before the pandemic. Prelim. Sur-reply 3. In the
other of his patent cases, Judge Stearns issued orders on dispositive motions
2.5 months after briefing concluded. Id. at 4. If Judge Stearns resolves
dispositive motions in a similar time frame in this case, the decision on


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dispositive motions would come in mid-October 2024. Consistent with this
expectation, Judge Stearns recently informed the parties that “they should be
prepared to litigate this case in the fall or early winter of 2024.” Ex. 2062.
This supports a November/December 2024 trial date.
      Although it is difficult to predict the trial date in this case with
precision given the variance in median time-to-trial data and the limited
number of dispositive motions Judge Stearns has decided in patent cases, it
seems likely that the Massachusetts Litigation will be tried before the March
2025 deadline for our final written decision. Both the median time-to-trial
and an estimate based on Judge Stearns’ individual practices support a trial
date a few months prior that date. Moreover, as noted above, Judge Stearns
forecasted in his most recent order addressing trial timing, a “fall or early
winter 2024” trial. Ex. 2062. Accordingly, this factor weighs somewhat in
favor of discretionary denial. Apple Inc. v. Fintiv, Inc., IPR2020-00019,
Paper 15, 13 (PTAB May 13, 2020) (informative) (“Because the currently
scheduled District Court trial is scheduled to begin two months before our
deadline to reach a final decision, this factor weighs somewhat in favor of
discretionary denial in this case.”).
             3.     Investment in the Parallel Proceeding (Factor 3)
      Fintiv factor 3 considers the “investment in the parallel proceeding by
the court and parties,” including “the amount and type of work already
completed in the parallel litigation by the court and the parties at the time of
the institution decision.” Fintiv, Paper 11 at 9. For example, if, at the time
of institution, the court in the parallel proceeding has issued “substantive



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orders related to the patent at issue in the petition” or “claim construction
orders” this favors denial. Id. at 9–10.
      Petitioner asserts in its Petition that this factor “weighs against
discretionary denial” because “[f]act discovery is still ongoing, with no
witnesses having been deposed, and expert discovery has yet to begin.”
Pet. 67. In its Preliminary Reply, Petitioner acknowledged that “fact
discovery will be closed by the institution deadline,” but asserted that expert
discovery and dispositive motions briefing will not be completed by
institution. Prelim. Reply 5. Thus, Petitioner maintains that this factor is
“neutral at best.” Id.
      Patent Owner responds that “at the time of the institution decision, the
parties and court will have made substantial investment in the district court
case.” Prelim. Resp. 20. According to Patent Owner, Petitioner waited
more than six months after receiving infringement contentions to file the
Petition, and, as a result, “the district court already issued a Markman
order,” fact discovery is closed, and Petitioner’s expert report on patent
validity has been served. Id. at 20–21. Patent Owner asserts that the fact
that “some litigation steps remain does not make Factor 3 neutral.” Prelim.
Sur-reply, 4 (internal citation omitted). To the contrary, Patent Owner
contends that the “significant investment” in the Massachusetts Litigation to
date, “strongly favors denial.” Id.
      We agree with Patent Owner that the existing investment by the
parties and the court in the Massachusetts Litigation has been substantial.
Judge Stearns has already construed the claims at issue, fact discovery has
closed, and expert discovery is well underway, with opening expert reports


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having been exchanged in mid-February and rebuttal expert reports due
within one month from this decision. Ex. 2011, docket entries 62
(scheduling order) and 105 (claim construction order). Although work
remains in the lead-up to trial before the district court, we find that this
factor favors exercising our discretion to deny institution.
             4.     Overlap of Issues (Factor 4)
      Fintiv Factor 4 considers whether “the petition includes the same or
substantially the same claims, grounds, arguments, and evidence as
presented in the parallel proceeding.” Fintiv, Paper 11 at 12. If the issues in
the Petition overlap substantially with those raised in the parallel proceeding,
“this fact has favored denial.” Id. “Conversely, if the petition includes
materially different grounds, arguments, and/or evidence . . . this fact has
tended to weigh against exercising discretion to deny institution.” Id. at 12–
13.
      Together with its Preliminary Reply, Petitioner submits a stipulation
that it contends “moots” the risk of duplicative efforts. Prelim. Reply 2,
App’x. Petitioner’s stipulation states that “Petitioner will not pursue in
district court the four specific grounds that are raised in this IPR.” Id. at
App’x. The stipulation further states:
             For the avoidance of doubt, Petitioner will continue to be
      able present in the district court all arguments and grounds of
      patent invalidity that are not identical to the four above-listed
      grounds. For example, and without limitation, Petitioner will be
      able to raise in the district court any arguments or grounds
      involving Geall, Yang, and/or Altmeyer that are not identical to
      Grounds 2, 3, and 4 (i.e., that are not obviousness based on
      Schrum in view of Geall, Schrum in view of Yang, or Schrum
      in view of Altmeyer).

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Id. In view of this stipulation, Petitioner contends that Fintiv Factor 4
“weighs against exercising discretion to deny institution.” Id. at 2.
      Patent Owner argues that Petitioner’s stipulation leaves “substantial
overlap.” Prelim. Sur-reply 2. Patent Owner explains that in the
Massachusetts Litigation, Petitioner “asserts 64 grounds in district court that
rely on the same references as the petition, and 58 more using art it could
have raised here” but “only agrees not to pursue four.” Id. at 2–3.
According to Patent Owner, “Petitioner’s efforts to have the Board and the
court analyze the same art would duplicate effort and potentially yield
inconsistent results—precisely what Fintiv is meant to avoid.” Id. at 3.
      The Board’s informative decision in Sand Revolution II, LLC v.
Continental Intermodal Group – Trucking LLC expressed skepticism that
stipulations like that at issue here achieve the goals of avoiding duplication
and inconsistent decisions:
     Petitioner could have stipulated that it would not pursue any
     ground raised or that could have been reasonably raised in an
     IPR, i.e., any ground that could be raised under §§ 102 or 103
     on the basis of prior art patents or printed publications. A
     broader stipulation of that nature, not at issue here, might
     better address concerns regarding duplicative efforts and
     potentially conflicting decisions in a much more substantial
     way. Likewise, such a stipulation might help ensure that an IPR
     functions as a true alternative to litigation in relation to grounds
     that could be at issue in an IPR. Further still, Petitioner could
     have expressly waived in the district court any overlapping
     patentability/invalidity defenses. Doing so might have tipped
     this factor more conclusively in its favor.
IPR2019-01393, Paper 24 at 12 n.5 (PTAB June 16, 2020) (informative)
(emphasis added). The Board in Sand Revolution accorded a stipulation not


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containing the “could have reasonably raised” provision “marginal[]”
weight. Id. at 12.
      Petitioner’s stipulation does reduce somewhat the overlap relating to
the challenge presented in the Petition, but not as fully as would a Sotera-
type stipulation. Sotera Wireless, Inc. v. Masimo Corp., IPR2020-01019,
Paper 12 at 18–19 (PTAB Dec. 1, 2020) (precedential) (addressing a
stipulation to not pursue in court any grounds raised or that reasonably could
have been raised in the IPR); Guidance Memo, 7–8 (explaining that
institution will not be discretionarily denied due to parallel litigation where a
Sotera-type stipulation is made). If we grant institution in this and the
related IPRs, the Board may well reconsider claims whose validity was
previously tried before the district court and do so based on similar (though
not “identical”) grounds. Prelim. Reply, App’x. Thus, while the stipulation
“mitigates to some degree the concerns of duplicative efforts between the
district court and the Board, as well as concerns of potentially conflicting
decisions” (Sand Revolution, Paper 24 at 12), it does not remove them. In
addition, Petitioner’s stipulation does not preclude Petitioner from relying on
the same prior art in different combinations. Accordingly, consistent with
the decision in Sand Revolution we find that Petitioner’s stipulation weighs
only marginally against discretionary denial. IPR2019-01393, Paper 24 at
12 (determining that stipulation similar to that here weighed “marginally”
against discretionary denial).
      Overall, we find that this factor weighs marginally against exercising
our discretion to deny institution.




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             5.     Identity of Parties (Factor 5)
      Petitioner is the defendant in the Massachusetts Litigation. Pet. 3. To
the extent that trial in the district court may precede the deadline for a final
written decision in this proceeding, this factor favors exercising our
discretion to deny institution. Huawei Tech. Co. v. WSOU Inv., LLC,
IPR2021-00225, Paper 11 at 14 (PTAB June 14, 2021) (finding that “this
factor favors denial if trial precedes the Board’s Final Written Decision and
favors institution if the opposite is true”) (internal quotation marks omitted);
Google LLC v. Parus Holdings, Inc., IPR2020-00846, Paper 9 at 21 (PTAB
Oct. 21, 2020) (“Here, . . . Petitioner is the defendant in the parallel
proceeding. This fact could weigh either in favor of, or against, exercising
discretion to deny institution, depending on which tribunal was likely to
address the challenged patent first.”). As discussed supra § II.B.2, trial in
the district court is likely to precede our final written decision. Accordingly,
this factor weighs in favor of exercising our discretion to deny institution.
             6.     Other Circumstances Including the Merits (Factor 6)
      We take “a holistic view of whether efficiency and integrity of the
system are best served by denying or instituting review” when evaluating
these factors. Fintiv, Paper 11 at 6. We have considered the circumstances
and facts before us in view of Fintiv Factors 1–5. As discussed above,
Factor 1 is neutral, Factors 2, 3, and 5 weigh in favor of discretionary denial
of institution, and Factor 4 weighs marginally against discretionary denial.
On balance, we conclude that the evidence of record on Factors 1–5 favors
exercising our discretion to deny institution of an inter partes review.




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      Following CommScope, where, as here, our analysis of the first five
Fintiv Factors favors denial of institution, we address the merits of the
Petition to determine whether, on this preliminary record, the merits are
compelling. CommScope Technologies LLC v. Dali Wireless, Inc.,
IPR2022-01242, Paper 23 at 4–5; Guidance Memo 3–5.

                III.   COMPELLING MERITS ANALYSIS
      A.     Legal Principles
      “In an [inter partes review], the petitioner has the burden from the
onset to show with particularity why the patent it challenges is
unpatentable.” Harmonic Inc. v. Avid Tech., Inc., 815 F.3d 1356, 1363 (Fed.
Cir. 2016) (citing 35 U.S.C. § 312(a)(3).
      A claim is unpatentable under 35 U.S.C. § 103(a) if the differences
between the claimed invention and the prior art are such that the claimed
invention would have been obvious at the time the invention was made to a
person having ordinary skill in the relevant art. KSR Int’l Co. v. Teleflex
Inc., 550 U.S. 398, 406 (2007). The question of obviousness is resolved on
the basis of underlying factual determinations including: (1) the scope and
content of the prior art; (2) any differences between the claimed subject
matter and the prior art; (3) the level of ordinary skill in the art; and (4)
objective indicia of nonobviousness when presented. Graham v. John Deere
Co., 383 U.S. 1, 17–18 (1966). Moreover, “[a]n obviousness determination
requires finding both that a skilled artisan would have been motivated to
combine the teachings of the prior art references to achieve the claimed
invention, and that the skilled artisan would have had a reasonable



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expectation of success in doing so.” CRFD Rsch., Inc. v. Matal, 876 F.3d
1330, 1340 (Fed. Cir. 2017) (internal quotation marks and citation omitted).

      B.     Level of Ordinary Skill in the Art
      Petitioner describes a person of ordinary skill in the art (“POSA” or
“skilled artisan”) as follows:
      [A] research team with (1) or more researchers with an
      advanced degree and experience in the fields of nucleic acids,
      including RNA-mediated mechanisms and/or nucleic acid
      therapeutics, gene therapy, and modified mRNA, working with
      (2) one or more individuals with an advanced degree and
      experience in drug delivery of nucleic acid drugs, including
      lipid-based drug delivery systems, and (3) one or more
      individuals with an advanced degree and experience in vaccines
      and/or virology, molecular medicine, and/or infectious diseases.
Pet. 15 (citing Ex. 1002 ¶ 11; Ex. 1004 ¶ 16).
      Patent Owner contends that “a POSA would have had an M.D. and/or
Ph.D in immunology, virology, biochemistry, chemistry, or a related
discipline, and three or more years of work experience in such fields, and
would have been part of a team including biochemists, chemists, drug
delivery scientists, and/or clinicians.” Prelim. Resp. 4.
      The parties seem to be in agreement that the POSA would have
included, or been part of, a research team. Pet. 15; Prelim. Resp. 4. The
parties also propose that the POSA would have experience and expertise in
similar subject matter. For example, Petitioner proposes that the POSA
would have expertise in vaccines and/or virology while Patent Owner
proposes that the POSA would have expertise in virology and been part of a
team including clinicians. Id. Similarly, the parties agree that the POSA


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would have expertise in drug delivery. The principal difference between the
parties’ definitions seems to be that Petitioner’s definition is more specific
than Patent Owner’s definition. For example, Petitioner proposes expertise
in the field of nucleic acids including nucleic acid therapeutics while Patent
Owner proposes expertise in biochemistry.
      For purposes of this Decision, we do not consider the differences
between the parties’ definitions to be material; we would reach the same
result under either definition. To the extent the parties believe the
differences between the two definitions of the POSA are material, we invite
them to brief the issue at trial. In reaching this decision, we find the
additional detail in Petitioner’s definition to be helpful. As, Petitioner’s
description of a POSA appears consistent with the subject matter of the ’600
patent and with the prior art of record, we apply it for purposes of this
decision. See Okajima v. Bourdeau, 261 F.3d 1350, 1355 (Fed. Cir. 2001);
In re GPAC Inc., 57 F.3d 1573, 1579 (Fed. Cir. 1995); In re Oelrich, 579
F.2d 86, 91 (CCPA 1978). In applying Petitioner’s definition of the POSA,
we make one addition resulting from the fact that Petitioner’s definition does
not specify a duration of work experience. Where Petitioner’s definition
specifies work experience, we consider the duration of such experience to be
three or more years (consistent with Patent Owner’s suggested duration).

      C.     Claim Construction
      We interpret a claim “using the same claim construction standard that
would be used to construe the claim in a civil action under 35 U.S.C.
282(b).” 37 C.F.R. § 42.100(b) (2020). Under this standard, we construe
the claim “in accordance with the ordinary and customary meaning of such

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claim as understood by one of ordinary skill in the art and the prosecution
history pertaining to the patent.” Id.
      Petitioner proposes that, for purposes of this proceeding, the claims
should be given the claim construction advanced by Patent Owner and
adopted by the district court in the Massachusetts Litigation. Pet. 21.
Petitioner, thus, proposes that the claims be construed as follows:
       •      betacoronavirus: “an enveloped, positive-sense, single
       stranded RNA virus of zoonotic origin that belongs to one of the
       four lineages of the betacoronavirus genus of the subfamily
       Coronavirinae (e.g., OC43, HKU1, MERS-CoV, and SARS-
       CoV).”
       •       S protein: a “spike protein,” which is “a structural protein
       forming a spike.”
       •      open reading frame: “in a DNA, a continuous stretch of
       DNA beginning with a start codon, and ending with a stop codon
       and encodes a polypeptide, or, in an mRNA, a corresponding
       stretch of mRNA.”
        •     subject: “a mammal.”
Id.; see also Ex. 1035 (district court’s order on claim construction). Patent
Owner states that it “agrees the constructions adopted by the district court
and referenced by the Petitioner should apply for this proceeding.” Prelim.
Resp. 4 (internal citation omitted).
      Absent any apparent dispute between the parties as to how the claims
should be construed, we do not find it necessary to construe the claims at
this stage of the proceeding. See Nidec Motor Corp. v. Zhongshan Broad
Ocean Motor Co. Ltd., 868 F.3d 1013, 1017 (Fed. Cir. 2017) (“[W]e need
only construe terms ‘that are in controversy, and only to the extent necessary
to resolve the controversy’” (quoting Vivid Techs., Inc. v. Am. Sci. & Eng’g,
Inc., 200 F.3d 795, 803 (Fed. Cir. 1999))); Wellman, Inc. v. Eastman Chem.

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Co., 642 F.3d 1355, 1361 (Fed. Cir. 2011) (“[C]laim terms need only be
construed ‘to the extent necessary to resolve the controversy’”).

      D.     Overview of the Asserted Prior Art
      Petitioner contends that each of the asserted references below is prior
art. Pet. 16–20. Patent Owner does not contest the prior-art status of these
references. Prelim. Resp. 10–13.

             1.   Schrum (Ex. 1009)
      Schrum is a U.S. patent application that published October 10,
2013. Ex. 1009, code (43). Schrum relates generally to compositions
“comprising modified nucleic acid molecules which may encode a
protein” and, further, “nucleic acids useful for encoding polypeptides
capable of modulating a cell’s function and/or activity.” Ex. 1009,
Abstr.

      In summarizing the invention, Schrum teaches that, “[i]n one
aspect[,] a method of producing a polypeptide of interest in a
mammalian cell or tissue is described.” Id. ¶ 5. Further, Schrum
discloses that “[t]he method comprises contacting the mammalian cell
or tissue with a formulation comprising a modified mRNA encoding a
polypeptide of interest,” and that the “formulation may be, but is not
limited to, nanoparticles.” Id. Schrum discloses that the
“formulations of modified mRNA may comprise a fusogenic lipid
[(e.g., DSPC)], cholesterol and a PEG lipid.” Id. ¶ 8 (“The
formulation may have a molar ratio 50:10:38.5:1.5–3.0 (cationic lipid:




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fusogenic lipid: cholesterol: PEG lipid)”); see also id. ¶¶ 35, 38
(describing lipid nanoparticle composition).
      Schrum includes a section titled “Activation of the Immune
Response: Vaccines.” Id. ¶¶ 340–350. In that section, Schrum
teaches, inter alia, that in embodiments, “mRNA molecules may be
used to elicit or provoke an immune response in an organism,” where
the delivered mRNA “may encode an immunogenic peptide or
polypeptide.” Id. ¶ 340. Schrum discloses that the “modified nucleic
acid molecules and/or mmRNA . . . may encode an immunogen” that
“may activate the immune response.” Id. ¶ 342.
      Schrum further discloses that the mRNA “encoding an
immunogen may be delivered to a vertebrate in a dose amount large
enough to be immunogenic to the vertebrate.” Id. In support, Schrum
cites and “incorporate[s] by reference in [its] entirety” Geall
(Ex. 1010, herein). Id. According to Schrum, “[t]he modified nucleic
acid molecules or mmRNA of the invention may encode a polypeptide
sequence for a vaccine.” Id. ¶ 343. Schrum teaches that the mmRNA
may, as a non-limiting example, “be self-replicating mRNA [and]
may encode at least one antigen.” Id. ¶¶ 344–345; see also id. ¶¶ 346
(“[T]he self-replicating modified nucleic acids or mmRNA of [the]
invention may be formulated using methods described herein or
known in the art.”), 349 (“[T]he modified nucleic acid molecules and
mmRNA may encode all or part of a positive-sense or a negative-
sense stranded RNA virus genome[.]”).




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      Schrum includes several working examples. In Example 16, for
instance, Schrum describes in vivo studies wherein mRNA, “modified
with 5-methylcytosine and pseudouridine,” and encoding a protein,
was “formulated as lipid nanoparticles [(LNPs)].” Id. ¶ 995. The
LNP formulations were administered to mice intravenously in various
doses and protein expression (for G-CSF and Factor IX) was
confirmed. Id. ¶¶ 995–999.

             2.   Geall (Ex. 1010)
      Geall is an international patent application that published January 12,
2012. Ex. 1010, code (43). Geall relates generally to “RNA encoding an
immunogen” that is “delivered to a large mammal” to “elicit an immune
response.” Id. at Abstr.
      Geall teaches that “[t]he RNA can be delivered as naked RNA” but, to
enhance entry of the RNA into cells and subsequent cellular effects, “the
RNA is preferably administered in combination with a delivery system.” Id.
at 3:25–31. According to Geall, “useful delivery systems of interest”
include liposomes, polymer microparticles, and cationic oil-in-water
emulsions. Id. (disclosing that liposome delivery is preferred).
      Geall teaches that “[t]he invention involves in vivo delivery of RNA
which encodes an immunogen.” Id. at 12:1. “The RNA can trigger innate
immunity pathways and is also translated, leading to expression of the
immunogen.” Id. at 12:1–2. According to Geall, “[t]he RNA is +-stranded,
and so it can be translated without needing any intervening replication steps
such as reverse transcription.” Id. at 12:4–5. Further, Geall discloses,
“[p]referred +-stranded RNAs are self-replicating.” Id. at 12:6–17


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(disclosing that, with a preferred self-replicating RNA molecule (or
replicon), delivery of the molecule “lead[s] to the production of multiple
daughter RNAs”).
      Geall teaches that RNA molecules used with the invention “encode a
polypeptide immunogen.” Id. at 15:33–34 (disclosing that, after delivery,
translation of the RNA elicits an immune response in the recipient).
According to Geall, “[t]he immunogen may elicit an immune response
against a bacterium, a virus, a fungus or a parasite.” Id. at 15:34–35.
Further, Geall teaches, “[t]he immunogen will typically be a surface
polypeptide” such as “a spike glycoprotein.” Id. at 16:6–7. Geall teaches
that, in embodiments, the immunogen elicits an immune response against
one of several listed viruses. Id. at 18:12–20:23. Geall identifies
“Coronavirus” among the listed viruses. Id. at 19:26–29. And, more
specifically, Geall discloses that “[v]iral immunogens include, but are not
limited to, those derived from a SARS coronavirus” where “[t]he
coronavirus immunogen may be a spike polypeptide.” Id.

             3.   Yang (Ex. 1011)
      Yang is an article in Nature magazine, published in April 2004.
Ex. 1011, 561. Yang reports on an animal-model study related to DNA
vaccination against SARS-CoV. See generally id.
      Yang notes prior SARS outbreaks arising from SARS-CoV and earlier
public health measures to contain such outbreaks. Id. at 561. According to
Yang, “concerns remain over the possibility of future recurrences” of SARS
outbreaks and “[f]inding a vaccine for this virus therefore remains a high
priority.” Id.


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      Yang describes an animal (i.e., mouse) vaccination model that
“examine[d] immune protection against [SARS-CoV] viral replication in the
respiratory tract as a measure of vaccine efficacy.” Id. at 562.
      Yang teaches that “DNA encoding the spike (S) glycoprotein of the
SARS-CoV induces T cell and neutralizing antibody responses, as well as
protective immunity, in a mouse model.” Id. at 561 (“Gene-based
vaccination for the SARS-CoV elicits effective immune responses that
generate protective immunity in an animal model.”). Moreover, “[t]he
humoral immune response includes the generation of neutralizing antibodies.
This humoral immunity alone can inhibit pulmonary viral replication in a
murine challenge model and suggests that DNA vaccination with the SARS-
CoV S glycoprotein gene results in protective immunity.” Id. at 563. Yang
reports that “[v]iral replication was reduced by more than six orders of
magnitude in the lungs of mice vaccinated with these S plasmid DNA
expression vectors, and protection was mediated by a humoral but not a T-
cell-dependent immune mechanism.” Id. at 561; see also id. at 562 (“In this
analysis, the most potent immunogen, SARS SΔCD, led to >106-fold
reduction in viral load in the lungs compared with a control group injected
with vector alone, in which mean viral titres of >108 were observed[.]”).
According to Yang, these “results suggest that antibodies against SARS-
CoV S glycoprotein protect against a SARS-CoV challenge and do not
enhance infection in this animal model.” Id. at 563 (discussing a need for
future testing of SARS vaccine candidates for immunogenicity, safety, and
efficacy in humans).




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             4.   Altmeyer (Ex. 1012)
      Altmeyer is an international patent application that published
December 15, 2005. Ex. 1012, code (43). Altmeyer relates generally to
“[n]ucleic acid molecules, polypeptides, immunogenic compositions,
vaccines, and methods of making and using the nucleotides and encoded
polypeptides associated with the Spike protein of SARS Corona Virus
(SARS CoV).” Id. at Abstr.
      Altmeyer discloses “DNA and RNA sequences” that “encode Spike
polypeptides.” Id. ¶ 60 (teaching that such sequences hybridize to SEQ ID
NOS: 2, 3 & 6, as disclosed, under conditions of moderate or severe
stringency). According to Altmeyer, “[t]he polypeptides encoded by these
novel nucleic acids are referred to herein as ‘Spike polypeptides’ or ‘Spike
proteins.’” Id. ¶ 61 (“[T]hese terms refer to a genus of polypeptides that
further encompasses proteins having the amino acid sequence of SEQ ID
NO: 4 or SEQ ID NO: 7” as well as polypeptides with a “high degree of
similarity (at least 90% homology) with such amino acid sequences” and
polypeptides and proteins that “are immunoreactive.”); see also id. ¶¶ 64–67
(describing Spike polypeptides and variants thereof, and their use to prepare
antibodies that bind to the Spike polypeptides).
      Altmeyer describes methods of RNA and/or DNA vaccination. See,
e.g., id. ¶¶ 97–98. According to Altmeyer, “[t]he method also includes
administering any combination of nucleic acids encoding Spike polypeptides
. . . with or without carrier molecules[] to an individual.” Id. Altmeyer
discloses that the individual is an animal and preferably a mammal,
including, a human, mouse, rabbit, etc. Id. (“In an especially preferred


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embodiment, the mammal is a human.”). Altmeyer teaches that skilled
artisans are cognizant of the concept, application, and effectiveness of
“nucleic acid vaccine technology” and that this technology “allows the
administration of nucleic acids encoding Spike polypeptides, naked or
encapsulated, directly to tissues and cells without the need for production of
encoded proteins prior to administration.” Id. (“Such nucleic acid vaccine
technology includes, but is not limited to, delivery of naked DNA and RNA
and delivery of expression vectors encoding Spike polypeptides.”).
      Altmeyer discloses, in Example 5, an example of RNA vaccination of
mice. Id. ¶¶ 114–116. In that example, Altmeyer teaches that “[m]ice were
immunized intramuscularly with SFV[ 13] Spike RNA, followed by
intraperitoneal (IP) injection of Spike protein at day 14 and at day 35.” Id.
Altmeyer discloses that serum samples from immunized mice “showed the
presence of recombinant Spike-specific antibodies.” Id. (citing Figs. 6–8).
According to Altmeyer, “data indicate that the Spike protein expressed in the
SFV vector could be successfully immunopurified in its native
conformation, and that this purified protein induces high titer anti-SARS
antibodies in mice.” Id.

      E.     Ground 2: Obviousness over Schrum and Geall
      In our compelling merits analysis, we focus on Petitioner’s Ground 2
because, on the present record, we consider Ground 2 to present the




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  Altmeyer discloses that “SFV” refers to the Semliki Forest Virus vector.
See, e.g., Ex. 1012 ¶ 41.

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strongest case for unpatentability of one or more of the challenged claims at
this time. We address the remaining grounds in Section § IV below.
      Petitioner asserts that claims 1, 2, 4–6, 8–12, 16, 17, 20, 21, and 26
are unpatentable as obvious over the combination of Schrum and Geall. Pet.
38–66. 14 We provided an overview of Schrum and Geall above. Below we
provide our analysis of Petitioner’s obviousness showing. We begin by
summarizing Petitioner’s Ground 2. We then consider Patent Owner’s
arguments that Petitioner failed to identify a teaching of the spike protein in
the prior art, that Petitioner failed to establish a motivation to pursue an
mRNA composition, that Petitioner failed to establish a reasonable
expectation of success, and that objective indicia of non-obviousness
demonstrate the non-obviousness of the claimed composition.
      Finally, we consider whether the totality of the evidence rises to the
level of compelling merits. For the reasons discussed below, we determine
that Petitioner has established a reasonable likelihood of prevailing on its
assertion that at least one of the challenged claims are unpatentable based on
Ground 2 and that Petitioner’s showing, in fact, rises to the level of
“compelling merits” according to the Office’s current guidance and Board
precedents. CommScope at 3–4 (quoting Guidance Memo at 4 (“[W]hen
determining whether there is a compelling unpatentability challenge, the


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  Petitioner supports its challenge to claim 1 with testimony from Drs.
Griffin and Moon. Ex. 1002 ¶¶ 67–81; Ex. 1004 ¶¶ 58–76. Dr. Moon’s
testimony focuses on the lipid nanoparticle elements of the claim and Dr.
Griffin’s testimony focuses primarily on the remainder of the claim
limitations, with both declarants cross-referencing the testimony of the other,
as applicable.

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Board evaluates whether the Petition presents challenges ‘in which the
evidence, if unrebutted in trial, would plainly lead to a conclusion that one or
more claims are unpatentable by a preponderance of the evidence.”));
OpenSky Indus., LLC v. VLSI Tech. LLC, IPR2021-01064, Paper 102, 49–50
(PTAB Oct. 4, 2022) (precedential) (“OpenSky”) (explaining that “[a]
challenge can only ‘plainly lead to a conclusion that one or more claims are
unpatentable’ . . . if it is highly likely that the petitioner would prevail with
respect to at least one challenged claim”).

             1.    Summary of Petitioner’s Ground 2 as Applied to Claim 1
      Petitioner contends that Schrum discloses mRNA vaccines that
encode an immunogen and that have “identical mRNA and lipid
nanoparticle components to that claimed in the ’600 patent.” Pet. 40.
Petitioner asserts that Schrum discloses all of the limitations of claim 1
except that Petitioner relies upon Geall as suggesting a composition where
Schrum’s mRNA encodes “a betacoronavirus (BetaCoV) S protein or S
protein subunit.” Id. at 38–40. 15
      Petitioner contends that Geall discloses “immunogenic RNA vaccines
encoding the S protein of SARS-CoV.” Id. at 40. According to Petitioner,
the S protein “was known to be the most promising antigen for development
of a SARS-CoV vaccine.” Id. With the support of Dr. Griffin, Petitioner
asserts that the POSA would have reason to combine Geall and Schrum
because Schrum “identifies and incorporates Geall” and because “the two


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  In connection with Ground 1, Petitioner asserts that Schrum discloses this
claim limitation and thus anticipates the challenged claims. We address
Petitioner’s anticipation arguments infra § IV.A.

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references are in the same field of endeavor.” Id. at 41 (citing Ex. 1002
¶¶ 112–114 (testimony of Dr. Griffin to this effect). In addition, Petitioner
asserts that the POSA would have good reason to “create an mRNA vaccine
encoding the spike protein of SARS-CoV.” Id. To support this proposition,
Petitioner cites Yang’s teaching that “a DNA vaccine encoding the spike (S)
glycoprotein of the SARS-CoV induces T cell and neutralizing antibody
responses, as well as protective immunity, in a mouse model.” Ex. 1011,
561 (cited at Pet. 41). Petitioner also cites Du’s16 teaching that “[a]mong all
structural proteins of SARS-CoV, S protein is the main antigenic component
that is responsible for inducing host immune responses, neutralizing
antibodies and/or protective immunity against virus infection” and that “S
protein has therefore been selected as an important target for vaccine and
antiviral development.” Ex. 1031, 229 (cited at Pet. 41).
      Petitioner contends that the POSA would reasonably have expected
success in combining Schrum and Geall because Schrum teaches that
methods of synthesizing mRNA were known in the art and provides
examples where administration of protein-encoding mRNA formulated in
lipid nanoparticles expressed the encoded protein. Pet. 41–42 (citing
Ex. 1009 ¶¶ 291, 320, 942, 963, 995–999, 1000–1001; Ex. 1002 ¶ 115;
Ex. 1004 ¶¶ 72, 81).
      Petitioner’s assertions above are backed by the cited prior art and by
the testimony of its declarants, Drs. Griffin and Moon. On this preliminary


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  Du et al., The Spike Protein of SARS-CoV – A Target for Vaccine and
Therapeutic Development, 7 Nature Rev. Microbiology 226–236 (2009)
(“Du”).

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record, we determine that Petitioner’s arguments and evidence show a
reasonable likelihood that Petitioner will prevail in its assertion that at least
one of the challenged claims is unpatentable as obvious over the
combination of Schrum and Geall. Indeed, as we discuss below, we find
that Petitioner has made a compelling merits showing on the alleged
obviousness of at least claim 1 over Schrum and Geall. We turn now to
Patent Owner’s arguments.

             2.   Patent Owner’s Arguments Regarding Identification of a
                  Spike Protein
      Patent Owner argues that institution should be denied because
Petitioner failed “to argue [that] Schrum or Geall teaches ‘form[ing] a spike’
under Petitioner’s claim construction.” Prelim. Resp. 46. We do not find
this argument persuasive.
      As discussed above, Geall discloses vaccines where RNA encoding an
immunogen is administered to a large animal. Ex. 1010, 2:3–4. Among the
immunogens Geall teaches may be encoded by its RNA vaccine are “those
derived from a SARS coronavirus.” Id. at 19:26–27. More specifically,
Geall discloses that the “coronavirus immunogen may be a spike
polypeptide.” Id. at 19:29–30. Dr. Griffin testifies that the POSA “would
have understood the disclosure of ‘spike polypeptide’ from a SARS
coronavirus in Geall as referring to a structural protein forming a spike.”
Ex. 1002 ¶ 72 n. 118 (cited at Pet. 23, 38). On this preliminary record, Dr.
Griffin’s presently-unrebutted testimony corresponds to Petitioner’s claim
construction and sufficiently shows that the combination of Geall and




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Schrum would be understood by the POSA as teaching an mRNA encoding
a BetaCoV (e.g., SARS) protein forming a spike.
      At least at this preliminary stage, we determine that Petitioner’s
showing that the cited art suggests an mRNA vaccine encoding BetaCoV S
protein is compelling. Petitioner identifies where Geall discloses a BetaCoV
S protein and provides expert testimony explaining how this disclosure
corresponds to the language of the claim. On the present record, we do not
agree with Patent Owner that this showing is deficient and Patent Owner
does not direct us to persuasive evidence rebutting Petitioner’s showing.
Accordingly, the evidence of record plainly supports that Geall discloses an
RNA vaccine encoding a structural protein that forms a spike.

             3.   Patent Owner’s Arguments Regarding Motivation to
                  Pursue mRNA Vaccine Compositions
      Patent Owner argues that Petitioner has not established that the POSA
would have been motivated to pursue mRNA vaccine compositions for four
reasons: 1) Petitioner does not established that the POSA would have started
with Schrum’s disclosure of mRNA vaccines, 2) the prior art reflects that the
POSA would have been skeptical of mRNA vaccines, 3) Petitioner does not
account for the preference in the art for self-replicating RNA vaccines, and
4) Petitioner does not provide sufficient reason to pick betacoronavirus spike
protein from Geall’s list of immunogens. We address each of these
arguments in turn.




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                    a) Arguments Regarding the Sufficiency of Schrum’s
                       Disclosure of mRNA Vaccines
      Patent Owner argues that the POSA would not have been motivated to
“start from Schrum’s passing reference to mRNA vaccines.” Prelim. Resp.
47. According to Patent Owner, “Schrum dedicates over 185 pages to
therapeutic use of mRNA, and its only working examples relate to
therapeutic or standard research proteins.” Id. This contrasts with Schrum’s
“Activation of Immune Response: Vaccines” subsection, which comprises
only 10 paragraphs and lacks a working example. Id. Patent Owner asserts
that “Petitioner identifies no reason a POSA would have started from this
brief reference in Schrum.” Id.
      We do not agree because, where obviousness is concerned, Schrum
must be considered for all that it teaches, not just what it allegedly focuses
on or exemplifies. In re Mouttet, 686 F.3d 1322, 1331 (Fed. Cir. 2012) (“A
reference may be read for all that it teaches, including uses beyond its
primary purpose.”); In re Lamberti, 545 F.2d 747, 750 (CCPA 1976) (“the
fact that a specific symmetric dialkyl is taught to be preferred is not
controlling, since all disclosures of the prior art, including unpreferred
embodiments, must be considered”). As the Supreme Court has made clear,
the obviousness inquiry is “expansive and flexible,” not narrow or rigid.
KSR, 550 U.S. at 415 (emphasis added). Here, Schrum teaches using mRNA
molecules encoding an immunogenic peptide to provoke an immune
response. See e.g., Ex. 1009 ¶ 340. Schrum further teaches that the immune
response may be “elicited by delivering a lipid nanoparticle” containing, for
example, mRNA and “formulated for use in a vaccine such as, but not



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limited to, against a pathogen.” Id. ¶ 397. Accordingly, we are not
persuaded by Patent Owner’s argument that Schrum makes only passing
reference to vaccines.
      In addition, Schrum’s disclosure of provoking an immune response by
administering mRNA encoding an antigen (i.e., a vaccine) is consistent with
and supported by its disclosure of administering mRNA encoding a
therapeutic protein. Id. ¶¶ 950, 963, 995–999, 1000–1021. In both cases,
administration of mRNA causes cells to produce a desired protein. See Ex.
1002 ¶ 114 (Dr. Griffin’s presently unrebutted testimony that Schrum
discloses a “successful method of delivery” for mRNA and “demonstrates
that administration of protein-encoding mRNA formulated in lipid
nanoparticles can express the encoded protein.”).
      Schrum’s disclosure that its delivery method can be used for a vaccine
is further compatible with its disclosure that its method reduces innate
immune response, increasing the efficiency of protein production. See e.g.,
Ex. 1009 ¶¶ 3 (“Thus, there is a need to develop formulation compositions
comprising a delivery agent that can effectively facilitate the in vivo delivery
of nucleic acids to targeted cells without generating an innate immune
response.”), 50 (“The modified nucleic acid molecules of the present
disclosure are capable of reducing the innate immune activity of a
population of cells into which they are introduced, thus increasing the
efficiency of protein production in that cell population.”), 98 (“As described
herein, the modified nucleic acids and mmRNA of the invention do not
substantially induce an innate immune response of a cell into which the
mRNA is introduced.”); Ex. 1002 ¶ 42 (“In order for mRNA vaccines to


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work as planned, the exogenous mRNA has to successfully enter the
patient’s cells and remain present long enough to be translated into
quantities of protein sufficient to trigger a response from the adaptive
immune system. In this regard, scientists would want to avoid a response
from the innate immune system to the mRNA therapeutic that could reduce
protein production and cause cell death.”) (footnote omitted).
      Accordingly, we do not see any tension between Schrum’s disclosure
of therapeutic uses of its delivery method and the use of its method for
vaccination. For this additional reason, we are not persuaded by Patent
Owner’s argument that Schrum focuses on therapeutic uses of mRNA or,
even if that was Schrum’s focus, that Schrum’s disclosure undermines the
reasons for using mRNA as part of a vaccine.

                      b) Arguments Regarding the Skepticism of mRNA
                         Vaccines
      Patent Owner argues that “in the early 2010s, the non-traditional
vaccine field was nascent” and “[r]esearchers considered options other than
mRNA because there was skepticism that mRNA vaccines would result in
sufficient immunogen expression to stimulate the immune system and
generate long-lasting immune response.” Prelim. Resp. 48. As support,
Patent Owner quotes Petsch 17 and Kallen.18 We consider each of these
references in turn.

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  Petsch et al, Protective Efficacy in in Vitro Synthesized, Specific mRNA
Vaccines Against Influenza A Virus Infection, 30 Nature Biotechnology No.
12, 1210–1216 (2012) (Ex. 2025, “Petsch”).
 Kallen et al., A Novel, Disruptive Vaccination Technology, 9 (10) Human
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Vaccines & Immunotherapeutics 2263–2276 (2013) (Ex. 2024, “Kallen”).

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      Patent Owner quotes the following statement from Petsch: “So far,
successful mRNA immunization resulting in protection from infectious
disease has never been reported. … [W]hether mRNA vaccines induce
protective antibody responses and are efficacious in infectious disease is not
clear.” Id. (emphasis added by Patent Owner). While this statement is
accurately quoted, on this preliminary record, we do not consider Petsch to
support skepticism as to whether mRNA vaccines would work. To the
contrary, Petsch appears to address the absence of clarity as to whether
mRNA vaccines induce a protective antibody response by teaching that they
do, in fact, generate such a response.
      Immediately after indicating that it was “not clear” whether mRNA
vaccines generate a protective response, Petsch reports: “[h]ere we validated
the mRNA vaccine approach for a B cell-dependent mode of protection
against an infectious disease, influenza.” Ex. 2025, 1211. Indeed, Petsch is
replete with teachings that mRNA vaccines provide protective antibody
response. See, e.g., id. at Abstr. (“Here we show that mRNA vaccines
induce balanced, long-lived and protective immunity to influenza A virus
infection in even very young and very old mice.”), 1212 (“[W]e conclude
that the mRNA vaccine effectively induced long-lived (and even lifelong)
protection in mice”), 1213 (“In summary, our findings suggest the feasibility
of single-dose immunization against influenza with a multicomponent HA
[hemagglutinin] and NA [neuraminidase] mRNA vaccine”), 1214–15 (“To
investigate whether mRNA vaccination was immunogenic in large animals
approaching average human body weight (60 kg), we immunized 3-month-
old female domestic pigs. . . . [T]he mRNA vaccine was clearly


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immunogenic in pigs.”), 1215 (“[T]his experiment therefore established
efficacy of mRNA vaccination in large animals.”), 1216 (“In summary, we
introduce an mRNA vaccine platform that combines the simplicity, safety
and focused immune response of subunit vaccines with the immunogenicity
of live viral vaccines. Our findings open attractive perspectives for
immunization against a broad range of pathogens.”). On this preliminary
record and on balance, Petsch appears to support, not skepticism, but an
expectation that mRNA vaccines can induce sufficient immunogen
expression to stimulate the immune system and generate long-lasting
immune response.
      Although the current record lacks testimony explaining Petsch, Patent
Owner’s characterizations of Petsch in Investigator’s Brochures further
support that Petsch does not reflect skepticism. For example, in an
Investigator’s Brochure dated September, 2016, Patent Owner characterized
Petsch as providing “[p]roof of concept for the use of an mRNA vaccine in
prophylaxis against influenza A virus infection.” Ex. 2050, 12 (2016
Investigator’s Brochure); see also Ex. 2051, 198 (2017 Investigator’s
Brochure making same statement); Ex. 2052, 11 (2019 Investigator’s
Brochure making similar statement). We recognize that this representation
may have occurred after the priority date for the ’600 patent, but the study it
holds out as providing “proof of concept” (Petsch) is dated December 2012,
before any possible priority date to which the challenged claims may be
entitled.19 For this additional reason, we are not persuaded by Patent


 The Investigator Brochure in Exhibit 2050 is dated September 23, 2016,
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which predates the earliest of the ’600 patent’s non-provisional priority

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Owner’s argument that Petsch demonstrates that the POSA would have been
skeptical of mRNA vaccines. Cf. Pfizer, Inc. v. Apotex, Inc., 480 F.3d 1348,
1364 (Fed. Cir. 2007) (holding that “the expectation of success need only be
reasonable, not absolute”).
      On this preliminary record, Kallen similarly appears to detract from
Patent Owner’s position that the POSA would have been skeptical of mRNA
vaccines. Patent Owner quotes Kallen’s statement that “naked mRNA
‘achieved high antigen expression but only weak immunostimulation’”
(Prelim. Resp. 48), but Petitioner’s proposed combination does not rely on
“naked mRNA.” Rather, Petitioner proposes that it would have been
obvious to use modified mRNA formulated in lipid nanoparticles as
suggested by at least Schrum. Pet. 38–42. Further, Kallen appears to
distinguish between “naked mRNA” and mRNA delivered in protective
lipids. Ex. 2024, 2263–2264 (“It was shown that subcutaneous injection of
liposome-encapsulated mRNA, but not naked mRNA encoding the
nucleoprotein (NP) of influenza virus elicited NP-specific cytotoxic T cells
(CTLs)).” The present record lacks evidence connecting “naked mRNA” to
Petitioner’s proposed combination. Absent such evidence, Patent Owner’s
Kallen-based skepticism argument is unavailing.



applications. We do not find it necessary at this stage to determine here
whether the ’600 patent is entitled to the priority date of any of its
provisional applications. This Investigator Brochure, along with certain
other exhibits of record, was submitted as part of authorized pre-institution
briefing concerning positions taken by Patent Owner in other writings,
including submissions to the FDA, that Petitioner alleges are inconsistent
with Patent Owner’s arguments here. Papers 10 and 13.

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                    c) Arguments Regarding an Alleged Preference in the
                       Art for Self-replicating RNA Vaccines
      Patent Owner cites Geall 2013, 20 as teaching that self-replicating RNA
is “more efficient for gene expression in situ” and argues that Geall itself
suggests that self-replicating RNA has advantages over mRNA. Prelim.
Resp. 48. According to Patent Owner, “Petitioner’s summary suggestion
that a POSA would have been motivated to pursue mRNA vaccines does not
account for this.” Id. We do not find this argument persuasive.
      Geall 2013 teaches that there are “two major forms of RNA vaccines:
(1) conventional, non-amplifying mRNA molecules and (2) RNA replicons
engineered from the genomes of positive-stranded RNA viruses.” Ex. 1016,
153. According to Geall 2013, “[b]oth approaches have their distinct
advantages and limitations” (id. at 153) and both are viable options (id. at
154 (“RNA vaccines (both mRNA and replicons) are effective at eliciting
antigen-specific humoral and cellular immune responses in animal models of
infectious and non-infectious diseases.”). For both approaches, Geall 2013
cites clinical trials that support efficacy. See e.g., id. at 154 (“Messenger
RNA vaccine candidates have been tested in human clinical trials targeting
metastatic melanoma and renal cell carcinoma, and tumor antigen-specific
antibody and T cell responses were seen. Unpublished results of trials
targeting prostate and non-small cell lung cancer have also shown mRNA
vaccines to be safe, well tolerated and immunogenic”) (internal citations
omitted). Geall 2013 then concludes that “[t]his growing body of preclinical


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  Geall et al, RNA: The New Revolution in Nucleic Acid Vaccines, 25
Seminars in Immunology 152–159 (2013) (Ex. 1016, “Geall 2013”).

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and clinical evidence demonstrates proof of concept that vaccines based on
RNA, whether conventional mRNA or self amplifying replicons, are
effective at eliciting functional immunity and should be rigorously tested.”
Id. (emphasis added).
      We acknowledge that Geall itself describes self-replicating RNA
vaccines as preferred. Ex. 1010, 12:6 (“Preferred +-stranded RNAs are self-
replicating”). But that does not necessarily render the use of mRNA
nonobvious. Medichem, S.A. v. Rolabo S.L., 437 F.3d 1157, 1165 (Fed. Cir.
2006) (“[A] given course of action often has simultaneous advantages and
disadvantages, and this does not necessarily obviate motivation to
combine.”); In re Susi, 440 F.2d 442, 446 n.3 (CCPA 1971) (holding that
disclosed examples and preferred embodiments do not constitute a teaching
away from a broader disclosure or non-preferred embodiments.). That is
particularly true where, as here, Petitioner relies on Geall principally for its
identification of a target immunogen. The current record, which lacks
testimony supporting Patent Owner’s argument, suggests that the POSA
would consider that an immunogen targeted by a self-replicating RNA
vaccine could also be targeted by mRNA vaccine. Ex. 1016, 154 (“vaccines
based on RNA, whether conventional mRNA or self-amplifying replicons,
are effective at eliciting functional immunity”).

                    d) Arguments Regarding the Selection of
                       Betacoronavirus Spike Protein as an Immunogen
      Patent Owner argues that “Geall has no single disclosure of an ‘RNA
vaccine encoding SARS-CoV spike protein’; it, at most, lists over 500
potential target immunogens, without singling out betacoronavirus.” Prelim.


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Resp. 49. According to Patent Owner, this is fatal to Petitioner’s challenge
because “Petitioner articulates no reason a POSA would have pursued a
betacoronavirus antigen, let alone a betacoronavirus spike protein, from
among Geall’s over 500 immunogens.” Id. at 49. We disagree.
       Petitioner explains that the POSA would have “good reason to
combine Schrum’s disclosure of an mRNA vaccine encoding an
‘immunogenic peptide or polypeptide’—i.e., ‘mmRNA encoding an
immunogen’—with Geall’s disclosure of an RNA vaccine encoding the
SARS-CoV spike protein” because Schrum incorporates Geall by reference
and because both references are directed to the same field of endeavor.
Pet. 41 (citing Ex. 1009 ¶¶ 340, 342; Ex. 1002 ¶¶ 112–114). In addition,
Petitioner relies upon the knowledge in the art—as reflected in Yang and
Du—as providing “good reason to create an mRNA vaccine encoding the
spike protein of SARS-CoV.” Id. (citing Ex. 1011 (Yang) and Ex. 1031
(Du)). On this preliminary record, we agree that Petitioner has established
that the POSA would have been motivated to use SARS-CoV S protein as an
immunogen in Schrum’s mRNA vaccines.
       We begin our analysis of Patent Owner’s arguments by considering
Patent Owner’s assertion that the POSA would have lacked motivation to
pursue a vaccine against SARS-CoV. We then consider whether the POSA
would have been motivated to specifically target the S protein of SARS-
CoV.
       Schrum discloses that the mRNA in its vaccine may encode an RNA
virus immunogen. Ex. 1009 ¶ 349. We recognize that the list of viral
immunogens in Geall is long (Ex. 1010, 18:11–20:23), but that does, by


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itself, render the selection of an immunogen from that list nonobvious.
Sinclair & Carroll Co. v. Interchemical Corp., 325 U.S. 327, 335 (1945)
(“Reading a list and selecting a known compound to meet known
requirements is no more ingenious than selecting the last piece to put into
the last opening in a jig-saw puzzle.”); see also Merck & Co. v. Biocraft
Laboratories, Inc., 874 F.2d 804, 807 (Fed. Cir. 1989) (“That the [prior art
reference] discloses a multitude of effective combinations does not render
any particular formulation less obvious.”). For this reason alone, we are not
persuaded by Patent Owner’s argument that the POSA lacked reasons to
pursue a vaccine against SARS-CoV.
      In addition, the prior art—as reflected in, for example, Yang and
Du—provides good reason to select SARS-CoV from Geall’s list of viral
immunogens. Ex. 1011, 561 (“Public health measures have successfully
identified and contained outbreaks of the severe acute respiratory syndrome
(SARS) coronavirus (SARS-CoV)1–5, but concerns remain over the
possibility of future recurrences. Finding a vaccine for this virus therefore
remains a high priority.”); Ex. 1031, 226 (“Although the outbreaks of SARS
seem to be over, SARS is still a safety concern because of the possible
reintroduction of a [SARS like]-CoV into humans and the risk of an escape
of SARS-CoV from laboratories.”); see also, Ex. 2030 (explaining that “the
precursor of the SARS-CoV remains in its natural bat reservoir, and
reemergence of a human-adapted SARS-like coronavirus remains a plausible
public health concern”). Even the ’600 patent recognizes, as background,
that SARS outbreaks remained a concern. Ex. 1001, 3:4–9 (“Because of a




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concern for reemergence or a deliberate release of the SARS coronavirus,
vaccine development was initiated.”).
      As to the selection of a specific coronavirus protein, the spike protein
is the only coronavirus protein specifically named in Geall. Ex. 1010,
19:23–24. In addition, the prior art—as reflected in, for example, Yang and
Du—provides good reason for the POSA to have targeted the spike protein.
Yang discloses that “a DNA vaccine encoding the spike (S) glycoprotein of
the SARS-CoV induces T cell and neutralizing antibody responses, as well
as protective immunity, in a mouse model.” Ex. 1011, 561. More
specifically, Yang teaches that mice “immunized with . . . plasmid DNAs
encoding S protein and challenged 30 days after the final boost . . . with 104
TCID50 units of SARS-CoV” show a “> 106–fold reduction in viral load in
the lungs compared with a control group” and “[a] 60- to 300-fold reduction
of virus titre in the nasal turbinates.” Id. at 562. Yang also suggests that the
viral genes it identifies may be useful in other delivery systems. Id. at 563
(“The definition of effective viral genes reported here can guide the choice
of inserts for such gene-based vaccination approaches. For example, the
SDCD mutant can be expressed in other vector delivery systems for
analysis, alone or in various combinations.”). On this preliminary record,
which lacks testimonial evidence from Patent Owner, we agree that Yang
helps to support a motivation to use the SARS-CoV spike protein, as taught
in Geall, as an immunogen in Schrum’s mRNA vaccines.
      Du discloses that SARS-CoV is an “enveloped, single, and positive-
stranded RNA virus” whose genome encodes a “non-structural replicase
polyprotein” and four structural proteins, including “spike (S), envelope (E),


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membrane (M), and nucleocapsid (N) proteins.” Ex. 1031, 226. According
to Du, “[t]he S protein plays key parts in the induction of neutralizing-
antibody and T-cell responses, as well as protective immunity, during
infection with SARS-CoV.” Id. at Abstr. Du explains that the S protein has
been identified as a target for vaccine development:

        Among all structural proteins of SARS-CoV, S protein is the
        main antigenic component that is responsible for inducing host
        immune responses, neutralizing antibodies and/or protective
        immunity against virus infection. S protein has therefore been
        selected as an important target for vaccine and anti-viral
        development.
Id. at 229 (emphasis added). Du also discusses testing vaccines based on the
full length of the S protein and concludes that such testing “suggest[s] that
the full-length S protein is highly immunogenic and induces protection
against SARS-CoV challenge and that neutralizing antibodies alone may be
able to suppress virus proliferation, further justifying the rationale that
vaccines can be developed based on the S protein.” Id. at 229. Finally, Du
discloses: “It is likely . . . that S protein-based vaccines will bear fruit in the
near future, as they have been proven to induce long-term and potent
neutralizing antibodies and/or protective immunity against SARS-CoV.” Id.
at 234. On this preliminary record, we agree that Du helps to support a
motivation to use the SARS-CoV spike protein, as taught in Geall, as an
immunogen in Schrum’s mRNA vaccines.
       The balance of the evidence at this stage supports that the POSA
would have had good reason to select SARS-CoV S protein as an
immunogenic target for use in Schrum’s mRNA vaccines.



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                   e) Conclusion Regarding Motivation to Combine
      Based on the preliminary record, we determine that Petitioner has
provided a compelling, evidence-based rationale for combining the relevant
teachings of Schrum and Geall. As discussed above, Schrum identifies and
incorporates Geall by reference and relates to the same field of endeavor.
Patent Owner does not currently dispute this. In addition, the knowledge in
the art––as reflected in at least Yang and Du–– provided good reasons to
create an mRNA vaccine encoding the spike protein of SARS-CoV. Patent
Owner’s arguments regarding skepticism of mRNA vaccines appear to be,
on the present record, undermined by the very art Patent Owner cites as well
as by its own statements to the FDA. Finally, Patent Owner’s arguments
that Schrum’s disclosure of mRNA vaccines is insufficient and that the art
demonstrated a preference for saRNA vaccines are not supported by the
current record and do not otherwise undermine Petitioner’s showing based
on controlling precedents. Accordingly, the current record plainly supports
that the POSA would have been motivated to combine Schrum and Geall in
the manner set forth in the Petition.

             4.   Patent Owner’s Arguments Regarding Expectation of
                  Success
      Patent Owner argues that Petitioner has not established that the POSA
would have reasonably have expected success for five reasons: 1) Petitioner
has not established an expectation that the composition of Schrum and Geall
would work, 2) Petitioner fails to account for the differences between
Geall’s saRNA (self-amplifying RNA) and the claimed mRNA, 3) the field
was skeptical of mRNA vaccines, 4) the POSA would not extend the


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teachings of Yang and Du to mRNA, and 5) the POSA would have been
skeptical of the coronavirus spike protein as a vaccine antigen. We address
each of these arguments in turn.

                    a) Arguments that the Composition of Schrum and Geall
                       Would Not Work
      Patent Owner argues that the cited art does not include any working
examples and that in the absence of working examples, Petitioner “does not
explain why a POSA would have expected an unmade, untested mRNA-
LNP [lipid nanoparticle] to encode a betacoronavirus structural protein
‘forming a spike.’” Prelim. Resp. 50–51. Patent Owner then asserts that
“Petitioner cites no prior art teaching that such a composition would produce
a protein that folds to ‘form[] a spike.’” Id. at 51. Patent Owner concludes,
“[w]ithout evidence of how the proposed mRNA-LNP-betacoronavirus
antigen combination would be expected to work, Petitioner fails to provide a
sufficient rational underpinning supporting a reasonable likelihood of
reasonable expectation of success.” Id.
      We do not find this argument persuasive at least because we do not
understand the claims to require the protein encoded by the mRNA to
actually form a spike. The challenged claims speak only to the composition
of the mRNA, not to the characteristics of the protein the mRNA may
ultimately express. Put another way the claims do not require that the
protein the recited composition causes to be expressed have any particular
properties, much less that it fold to form a spike. 21


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  To the extent either party disagrees with this reading of the challenged
claims, they are invited to brief the issue during trial.

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      Moreover, as we discuss in greater detail elsewhere herein, other
evidence of record, including evidence submitted by Patent Owner, further
supports a finding that mRNA vaccines were known to be effective. See,
e.g., Ex. 1016, 154 (both mRNA and replicon vaccines “effective” at
eliciting humoral response); Ex. 2025, 1212–1213 (“the mRNA vaccine
effectively induced long-lived” protection). At least Yang supports an
expectation of success related to the immunogenicity of an expressed
BetaCoV spike protein in animal models. See § III.D.3. And Patent
Owner’s own representations, including to the FDA, suggest that prior
studies with DNA and saRNA delivery systems are informative—supporting
a “proof of concept” with mRNA vaccines encoding a spike protein. See
§§ III.E.3.b., III.E.4.b., and III.E.4.e (citing, for example, Exs. 2050 and
2054).


                    b) Arguments that Petitioner Failed to Account for
                       Differences Between Geall’s saRNA and the Claimed
                       mRNA
      Patent Owner argues that “Geall is limited to saRNA, or self-
replicating RNA, not mRNA.” Prelim. Resp. 51–52.22 Patent Owner then
asserts that saRNA and mRNA are “materially different” and that the claims



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  Schrum suggests that self-replicating RNA is a species of mRNA.
Ex. 1009 ¶ 345 (“mmRNA may be self-replicating mRNA”); see also, Ex.
2028, 194 (discussing “[c]ytoplasmic delivery of a self-amplifying mRNA”);
Ex. 2005, 2118 (discussing delivery of “self-amplifying mRNA”); but see
Ex. 2027, 262 (“Two major types of RNA are currently studied as vaccines:
non-replicating mRNA and virally derived, self-amplifying RNA”).

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of the ’600 patent do not encompass saRNA.23 Id. at 52. As support, Patent
Owner cites the declaration of Dr. Geall (the sole inventor of Geall
(Ex. 1010)) submitted during prosecution of U.S. Patent Application No.
13/808,153, teaching that saRNA elicited RSV F IgGs in mice but mRNA at
the same dose did not. Id. (citing Ex. 2026, 406–407). Patent Owner argues
that Petitioner fails to account for the differences between mRNA and
saRNA and provides “no basis to conclude [that] a POSA would reasonably
expect success with an mRNA-LNP composition encoding betacoronavirus
spike protein ‘forming a spike.’” Id. at 53.
      We do not find this persuasive for several reasons. First, we do not
read Geall as limited to saRNA. For example, Geall broadly discloses that
“[t]he invention involves in vivo delivery of RNA which encodes an
immunogen.” Ex. 1010, 12:2. And Geall expressly describes self-
amplifying RNA only as “preferred,” implying that Geall also encompasses
RNA that is not self-replicating. Id. at12:6 (“Preferred +-stranded RNAs are
self-replicating”); In re Susi, 440 F.2d at 446 n.3. Indeed, as noted by Dr.
Griffin, Geall teaches that the RNA “can be translated without needing any
intervening replication steps,” which suggests that RNA amplification or
replication is not strictly necessary for translation of the desired immunogen.
Ex. 1010, 12:4–5; Ex. 1002 ¶ 72 n.115.



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  For purposes of this decision, we do not find it necessary to construe the
claims to determine whether they exclude saRNA. Rather, we accept Patent
Owner’s premise that saRNA is excluded. To the extent either party
contends that construction of “mRNA” is warranted, they are invited to brief
the issue.

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      Second, Petitioner relies on Geall principally for its identification of a
target immunogen. The current record, which lacks testimonial support
from Patent Owner, tends to support that the POSA would consider that an
immunogen targeted by a self-replicating RNA vaccine could also be
targeted by mRNA vaccine. See, e.g., Ex. 1016, 154 (“vaccines based on
RNA, whether conventional mRNA or self-amplifying replicons, are
effective at eliciting functional immunity”); see also, Ex. 1011, 563
(discussing results of DNA vaccine explaining that “[t]he definition of
effective viral genes reported here can guide the choice of inserts” for “other
vector delivery systems”).
      Third, as Petitioner points out (Paper 13, 3), Patent Owner cited Geall
in a section of its Investigator’s Brochures titled “Proof-of-Concept With
mRNA-Based Vaccines.” Ex. 2050, 12 (2016 Investigator’s Brochure); see
also Ex. 2051, 198 (2017 Investigator’s Brochure); Ex. 2052, 11 (2019
Investigator’s Brochure). On the current record, this undermines Patent
Owner’s suggestion that Geall’s teachings are somehow inapplicable to
mRNA vaccines. Patent Owner argues that the Investigator’s Brochures
post-date the priority date for the ’600 patent (Paper 10, 2), but Patent
Owner does not currently contest that the study it cites as supporting “proof
of concept” (Geall) is prior art. Further, the current record, which does not
include testimonial evidence from Patent Owner, does not support that the
POSA would have viewed Geall differently at the time of the Investigator’s
Brochures than at the asserted priority date for the ’600 patent.24

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  As previously noted, the Investigator Brochure in Exhibit 2050 is dated
September 23, 2016.

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      Fourth, Dr. Geall’s prosecution declaration does not persuade us that
the POSA would have understood teachings related to saRNA immunogens
to be inapplicable to mRNA immunogens. Dr. Geall’s declaration appears
to be directed primarily to dosing. Ex. 2026, 406 (“Prior to this invention,
there was little guidance in the art with respect to proper dosage for RNA
vaccines for large mammals.”). Although it supports that saRNA can be
used at much lower doses than mRNA, on the present record, we do not
understand it to teach that immunogens targeted by saRNA are inapplicable
to mRNA or that the POSA would have reasonably expected mRNA
vaccines to be ineffective (particularly when considered with the balance of
other evidence presently of record, as discussed above). See id. at 407–408
(“When self-replicating RNA (SAM) was combined with a delivery system
(CNE) [cationic oil-in-water emulsions] comparable levels of F-specific
IgGs were produced at an RNA dose that is 1000 fold lower (at 0.015 µg).
Such dramatic reduction of dosage was not observed with conventional
mRNA or DNA vaccines . . . , even when the mRNA or DNA was
formulated with CNE.”).

                   c) Arguments Regarding Skepticism in the Field of
                      mRNA Vaccines
      Patent Owner argues that “[a]s of the patent, the field was skeptical of
mRNA vaccines.” Prelim. Resp. 53. As support, Patent Owner cites the
same teachings from Kallen and Petsch discussed supra § III.E.3.b. On the
current record, these arguments are not persuasive for the reasons discussed




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above. Patent Owner also cites Pardi,25 DeFrancesco,26 and Geall 2013 as
support. We discuss each of these references in turn.
      Patent Owner relies on Pardi as supporting skepticism, quoting a
passage in which scientists noted “concerns associated with mRNA
instability, high innate immunogenicity and inefficient in vivo delivery.”
Ex. 2027, 261 (quoted at Prelim. Resp. 53). In this passage, Pardi explains
why “early promising results” with mRNA “did not lead to substantial
investment in developing mRNA therapeutics.” Id. We are not persuaded
that this is demonstrative of skepticism regarding mRNA vaccines because
Pardi goes on to teach that “[o]ver the past decade, major technological
innovation and research investment have enabled mRNA to become a
promising therapeutic tool in the fields of vaccine development and protein
replacement therapy.” Id. More specifically, Pardi discloses that “[v]arious
mRNA vaccine platforms have been developed in recent years and validated
in studies of immunogenicity and efficacy.” Id. at 262. One of the articles
Pardi cites to support this statement is Petsch, which is dated 2012. Id. at
262, 276 (describing Petsch as “demonstrat[ing] that directly injected, non-
replicating mRNA can induce protective immune responses against an
infectious pathogen”). Accordingly, on the current record, we are not
persuaded that Pardi evidences skepticism of mRNA vaccines that
undermines the POSA’s reasonable expectation of success.



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   Pardi et al., mRNA Vaccine – A New Era in Vaccinology, 17 Nature
Reviews 261–279 (2018) (Ex. 2027, “Pardi”).
26
   DeFrancesco, The ‘Anti-hype’ Vaccine, 35 Nature Biotechnology 193–197
(2017) (Ex. 2028, “DeFrancesco”).

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      Patent Owner quotes DeFrancesco’s statement that “few in the
research community considered RNA a good starting point” to support its
argument that the field was skeptical of mRNA vaccines. Prelim. Resp. 53–
54 (quoting Ex. 2028, 193). DeFrancesco makes this statement in the
context of explaining the history of why RNA vaccine development
“languished” behind DNA vaccine development. Ex. 2028, 193. This
statement is not persuasive of skepticism because, on the current record, we
are unable to link the time when “few . . . considered RNA a good starting
point” to the critical date for the challenged claims. Further, DeFrancesco’s
teaching that support from the US Defense Department’s Defense Advanced
Research Projects Agency (“DARPA”) spurred “advances in RNA vaccine
technology” suggests that perceptions of whether RNA was “a good starting
point” may have changed by such critical date. Indeed, DeFrancesco teaches
that “[i]n recent years, . . . ways of making, delivering and expressing
mRNA have improved and flagship companies such as CurVac and
Moderna have sprung up, attracting both researchers and investors.” Id. at
194; see also generally, id. at 193–197. Absent further explanation,
DeFrancesco’s teaching that “few . . . considered RNA a good starting
point” is not persuasive of skepticism of mRNA vaccines that undermines
the POSA’s reasonable expectation of success.
      Patent Owner relies on Geall 2013 as supporting that “the field
focused on other vaccine types – e.g., saRNA (like Geall) – not mRNA.”
Prelim. Resp. 54 (citing Ex. 1016, 154). We do not find this persuasive
because, as discussed supra § III.E.3.c, Geall 2013 teaches that mRNA and
self-replicating RNA each have advantages and disadvantages with both


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showing efficacy at eliciting antigen-specific humoral and cellular immune
responses. Ex. 1016, 153 (discussing “conventional, non-amplifying
mRNA” and “RNA replicons,” and teaching that “[b]oth approaches have
their distinct advantages and limitations”), 154 (teaching that “RNA
vaccines (both mRNA and replicons) are effective at eliciting antigen-
specific humoral and cellular immune responses in animal models of
infectious and non-infectious diseases”). That a POSA may have weighed
the advantages and disadvantages and chosen saRNA over mRNA does not
support that the POSA would not have reasonably expected success using
mRNA, particularly where the current record tends to support that mRNA,
like saRNA, was known to be effective in eliciting an immune response.

                   d) Arguments Regarding Extending the Teachings of
                      Yang and Du to mRNA Vaccines
      Patent Owner argues that Yang does not support an expectation of
success because Yang “reported results with a truncated S protein,” which
Patent Owner asserts is different from the claimed “S protein or S protein
subunit.” Prelim. Resp. 54. This argument is not persuasive because, on the
present record, we fail to discern a difference between a “S protein subunit”
and a “truncated S protein.”27
      Patent Owner argues that “Yang only studied DNA vaccines, not
mRNA” and that “DNA and mRNA are materially different in ways that
affect their use for vaccines.” Prelim. Resp. 54. More specifically, Patent


27
  To the extent either party contends that the term “subunit” requires
construction to aid us in determining the relevance of Yang’s alleged
truncated protein, they are invited to brief the issue during trial.

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Owner contends that “mRNA was known to be more unstable and prone to
degradation than DNA” and that “data comparing DNA and mRNA vaccines
suggested vaccine types were not interchangeable.” Id. at 54–55. As
support, Patent Owner cites Brito28 as teaching that “major differences”
were observed when comparing saRNA, mRNA, and DNA vaccines for
RSV and that, at the same dose where saRNA induced an immunogenic
response, “mRNA was unable to induce responses.” Prelim. Res. 55 (citing
Ex. 2005, 2119, 2124, Fig. 2).
      We recognize the evidence that there are differences between DNA,
mRNA, and saRNA vaccines, even where those vaccines encode the same
immunogen. But, on the current record, we are not persuaded that these
would detract from the POSA’s reasonable expectation of success in using
Schrum’s lipid nanoparticles to deliver mRNA encoding an immunogen.
Indeed, Brito teaches that “[r]ecently, mRNA has emerged as an alternative
to pDNA [plasmid DNA] with a number of high profile reports using mRNA
for vaccine and gene therapy applications” and that “[a]s a vaccine, mRNA
has some clear advantages over pDNA.” Ex. 2005, 2118. Although Brito
does report an experiment where “mRNA was unable to induce response[]”
it explains that this non-response was “perhaps due to the low dose being
tested here.” Id. at 2124. While using mRNA rather than DNA or saRNA
may require a dose adjustment, on the current record, Brito does not support
that the POSA would lack a reasonable expectation that Geall’s (or Yang’s)


28
  Brito et al., A Cationic Nanoemulsion for the Delivery of Next-generation
RNA Vaccines, 22 Molecular Therapy 2118–2129 (2014) (Ex. 2005,
“Brito”).

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immunogen would work in Schrum’s mRNA lipid nanoparticles. Indeed,
Yang expressly contemplates that its immunogen “can be expressed in other
vector delivery systems for analysis.” Ex. 1011, 563.
      Patent Owner argues that Petitioner’s reliance on Du is “misplaced”
because Du does not discuss mRNA and is directed only to “attenuated
virus, DNA, viral vector, and protein vaccines.” Prelim. Resp. 55. For the
reasons already discussed, we are not persuaded that differences between
delivery mechanisms would diminish the POSA’s expectation of success in
using Geall’s immunogen in Schrum’s mRNA lipid nanoparticles.

                   e) Arguments that the POSA would have been Skeptical
                      of Targeting Coronavirus Spike Proteins as a Vaccine
                      Antigen.
      Patent Owner also argues that there was “widespread skepticism
regarding pursuit of a coronavirus spike protein as a vaccine antigen.”
Prelim. Resp. 55–56. More specifically, Patent Owner asserts that there was
concern that targeting coronavirus spike proteins could “undesirably lead to
enhancement of disease.” Id. According to Patent Owner, “Du itself
identifies ‘concerns about the safety and ultimate protective efficacy of
vaccines that contain the full-length SARS-CoV S protein’—despite
inducing some neutralizing antibody response—because such vaccines may
induce ‘harmful immune responses’ causing liver damage or enhanced
infections.” Id. at 56 (citing Ex. 1031, 229–230). Patent Owner also cites
Vennema 29 as teaching that “kittens immunized with a viral vector encoding

29
  Vennema et al., Early Death After Feline Infectious Peritonitis Virus
Challenge due to Recombinant Vaccinia Virus Immunization, 64 Journal of
Virology 1407–1409 (1990) (Ex. 2029, “Vennema”).

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the coronavirus S protein died following exposure to a coronavirus” and that
the vaccine “worsened disease.” Id. (citing Ex. 2029, 1409). Thus, Patent
Owner contends, Vennema “suggested structural proteins other than S
protein were better vaccine candidates.” Id. Finally, Patent Owner cites
Jaume30 as teaching that “some vaccines targeting spike protein caused anti-
body-dependent enhancement of infection, whereas others did not.” Id.
(citing Ex. 2030, 10590). These arguments are, at present, unavailing.
      The record does include some evidence that a vaccine based on a
SARS CoV S protein may have posed safety concerns. Patent Owner is
correct, for example, that Du teaches that full-length S protein-based SARS
vaccines may induce liver damage or enhanced infection. Ex. 1031, 229–
230. But this teaching is counterbalanced by Du’s teaching that the S
protein is the “main antigenic component that is responsible for inducing
host immune responses” and therefore “an important target for vaccine and
anti-viral development” (id. at 229) as well as by its conclusion that “it is
likely . . . that S protein-based vaccines will bear fruit in the near future, as
they have been proven to induce long-term and potent neutralizing
antibodies and/or protective immunity against SARS-CoV” (id. at 234
(emphasis added)).
      Somewhat more concerning, in terms of the expectation that a vaccine
with an S protein could be used without creating unacceptable risks, are the



30
  Jaume et al., Anti-Severe Acute Respiratory Syndrome Coronavirus Spike
Antibodies Trigger Infection of Human Immune Cells via a pH- and Cysteine
Protease-Independent FcyR Pathway, 85 Journal of Virology 10582–10597
(2011) (Ex. 2030, “Jaume”)

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teachings of Vennema and Jaume. Vennema teaches that kittens immunized
with feline infectious peritonitis virus (“FIPV”) S protein experienced early
death “thought to be caused by antibody-dependent enhancement (ADE) of
infection” when challenged with FIPV. Ex. 2029, 1407. Jaume further
investigates ADE, noting that it is potentially an issue for vaccines using
SARS-CoV S protein. Ex. 2030, Abstr.
      These disclosures are, however, balanced by other teachings that S
protein-based vaccines may not trigger ADE. For example, Yang discusses
that development of a vaccine for FIPV “has been complicated by possible
immune potentiation of the disease,” which we understand to reference
ADE. Ex. 1011, 563. Yang then teaches, however, that a DNA vaccine
encoding SARS-CoV S glycoprotein “generat[ed] neutralizing antibodies”
and these “antibodies against SARS-CoV S glycoprotein protect against
SARS-CoV challenge and do not enhance infection in [Yang’s] animal
model.” Id. at 563 (emphasis added). Even Jaume found that two of five S
protein SARS-CoV vaccines provided protective immunity without
triggering ADE. Ex. 2030, 10595 (“Our results show that ADE was
dependent on the immunization strategy with two of five candidate vaccines
displaying obvious neutralizing capabilities without triggering SARS
CoVpp.”). Although Vennema and Jaume support some degree of
uncertainty about the risks with S-protein based vaccines, on the present
record, we are not persuaded that would negate a POSA’s reasonable
expectation of success. Pfizer, 480 F.3d at 1364 (holding that “the
expectation of success need only be reasonable, not absolute”).




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      In addition, as Petitioner explains (Paper 13, 5), Patent Owner’s
arguments that the POSA would not have expected a vaccine encoding
SARS-CoV S protein to be safe are somewhat at odds with statements of
Patent Owner made or submitted to the FDA. 31 For example, a Division of
Microbiology and Infectious Disease (“DMID”) Protocol 20-0003, dated
February 14, 2020, states:
      Prior preclinical studies have demonstrated that coronavirus
      spike (S) proteins are immunogenic and S protein-based
      vaccines, including deoxyribonucleic acid (DNA) and mRNA
      delivery platforms, are protective in animals. Prior clinical
      trials of vaccines targeting related coronaviruses and other
      viruses have demonstrated that DNA and mRNA-based
      vaccines are safe and immunogenic. It is therefore anticipated
      that mRNA-1273 will generate robust immune responses to the
      2019-nCoV S protein.
Ex. 2054, MOD_000477497. We recognize that this statement was made
after the filing date of earlier, related applications to which the’600 patent
claims priority. However, to the extent the prior preclinical studies and
clinical trials it references constitute prior art to the ’600 patent, the
statement appears contrary to Patent Owner’s argument in this case. We
further recognize that, as Patent Owner explains, this statement “do[es] not
concern disease enhancement.” Paper 10, 4. But unless the evidence
reflects developments assuaging concerns about ADE, and those
developments arose only after the critical date for the challenged claims, it


31
  See 87 Fed. Reg. 45764–67 (July 29, 2022) (addressing parties’ duty to
disclose to the Patent Office (and the Board in trial proceedings) information
material to the patentability of challenged claims, including conflicting or
inconsistent statements submitted to other agencies, such as the FDA).

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would seem disingenuous for Patent Owner to make the above
representation to the FDA without mentioning ADE given the concerns
Patent Owner now contends would have counseled against the use of S-
protein based SARS vaccines.
      Patent Owner’s other statements describing the art also appear to
provide: 1) additional examples where SARS-CoV S protein vaccination
was found not to be associated with ADE (Ex. 2057, 2 (describing 2004 and
2007 prior art references as showing that S protein-based vaccines were not
associated with disease enhancement, but also describing a 2005 study as
reporting that vaccination with S protein resulted in enhanced liver
pathology)), 2) additional evidence that a vaccine targeting the S protein
would be safe (Ex. 2055, MOD_000471992 (describing a 2008 prior art
reference as disclosing that a DNA vaccine expressing SARS S protein was
“safe and well tolerated” as well as “immunogenic”)), and 3) additional
evidence supporting that the S protein was a “primary target” (Ex. 2054,
MOD_000477505 (citing nine references dated from 2015–2019 32 as
supporting that “[t]he coronavirus spike (S) protein mediates attachment and
entry of the virus into host cells, making it a primary target for neutralizing
antibodies that prevent infection”)).
      As is often the case, a given course of action comes with potential
advantages and disadvantages. Where obviousness is concerned, a key is the
balancing of the respective advantages and disadvantages. See Medichem,
437 F.3d at 1165; Winner Int’l Royalty Corp. v. Wang, 202 F.3d 1340, 1349

32
  On the present record, it is not clear how many, if any, of these references
are prior art or otherwise evidence the state of the art at the relevant time.

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n.8 (Fed. Cir. 2000) (explaining that benefits, both lost and gained, should be
weighed against one another). Like the motivation issue, whether the POSA
would have reasonably expected success is highly fact-intensive inquiry.33
And, those issues will be best decided on a fully-developed record that
includes trial-tested expert testimony from both parties further addressing,
for example, the references cited by Patent Owner above, the alleged
inconsistent statements Patent Owner made to the FDA, and the expected
benefits of targeting a SARS-CoV S protein through an mRNA-based
vaccine versus alleged safety concerns with S-protein based vaccines. At
this stage, we are not persuaded that Patent Owner’s argument on safety and
efficacy undermines the POSA’s reasonable expectation of success for the
reasons discussed above.34

                   f) Conclusion Regarding Expectation of Success
      At least at this preliminary stage of the proceeding, we determine that
Petitioner has provided compelling, evidence-based reasoning why the
POSA would have reasonably expected success in combining the teachings


33
   Alza Corp. v. Mylan Labs., Inc., 464 F.3d 1286, 1289 (Fed. Cir. 2006)
(“The presence or absence of a motivation to combine references in an
obviousness determination is a pure question of fact”); Par Pharm., Inc. v.
TWi Pharma., Inc., 773 F.3d 1186, 1196 (Fed. Cir. 2014) (“The presence or
absence of a reasonable expectation of success is also a question of fact.”).
34
   To the extent Patent Owner maintains the position that concerns regarding
safety and efficacy negate an expectation of success, Patent Owner should
address the extent to which expectation of success in this case requires an
expectation of safety and efficacy given that the challenged claims are
directed to compositions and do not require that the claimed composition
have any particular level of efficacy or safety.


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of Schrum and Geall to arrive at the claimed subject matter. Petitioner
points out, and Patent Owner does not dispute, that methods of synthesizing
mRNA were known in the art and that Schrum provides examples where
administration of protein-encoding mRNA formulated in lipid nanoparticles
expressed the encoded protein. On the current record, we are not persuaded
by Patent Owner’s argument that the POSA would have considered
teachings regarding the utility of spike protein as an immunogen irrelevant
on the basis that the spike protein was administered using a different
delivery vehicle––e.g., saRNA or DNA rather than the claimed mRNA.
And, on the present record, we are not persuaded that Patent Owner’s
evidence that spike protein-based vaccines may trigger AED is sufficient to
negate a reasonable expectation of success. Accordingly, the current record
plainly supports that the POSA would have a reasonable expectation of
success in combining Schrum and Geall as set forth in the Petition.

             5.   Objective Indicia of Nonobviousness
      Patent Owner argues that objective indicia of obviousness confirm the
nonobviousness of the challenged claims. Prelim. Resp. 66–70. Patent
Owner contends that a nexus between its alleged objective indicia (industry
praise, failure of others, and skepticism) and the challenged claims is
“presumed” because Patent Owner’s “COVID-19 vaccine, Spikevax®
embodies and is coextensive with the claims.” Id. at 65–68 (arguing that the
claimed subject matter encompasses Spikevax). Patent Owner argues that
Spikevax was “praised as saving lives and the global economy.” Id. at 67–
68 (citing publications in, for example, the New York Times (Ex. 2037), and
awards received by Patent Owner for its work on Spikevax (Exs. 2040–


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2042)). Patent Owner contends that others had tried, but failed, to develop
mRNA medicines. Id. at 69 (arguing that “Spikevax® and Petitioner’s
Comirnaty®” were the “first commercial mRNA products (vaccine or
therapeutic)” and citing other, allegedly unsuccessful, clinical trials related
to mRNA HIV-1 and mRNA rabies vaccines (Exs. 2043–2046)). And,
Patent Owner argues, there was “significant industry skepticism around
mRNA medicines” before Spikevax. Id. at 68–69 (citing, e.g., Pardi
(Ex. 2027) about an alleged lack of early, significant investment in mRNA
therapeutics because of perceived issues with mRNA stability and delivery;
citing, e.g., Yang (Ex. 1011, 563) and Vennema (Ex. 2029, 1409) about
possible disease enhancing activity with vaccines using a spike protein).
      Patent Owner’s argument and evidence about alleged objective indicia
of nonobviousness does not weigh in favor of denying Petitioner’s challenge
at this stage. We discuss below.
      As an initial matter, there is no indication on this record that Petitioner
was aware of Patent Owner’s specific arguments on the alleged objective
indicia such that Petitioner should have preemptively addressed it in the
Petition. Under such circumstances, and considering the fact-intensive
nature of objective indicia, we determine that Petitioner should be given an
opportunity to develop and present rebuttal argument and evidence on such
indicia at trial in this proceeding. See, e.g., Invata, LLC v. Opex Corp.,
IPR2022-01604, Paper 8 at 10 (PTAB Mar. 17, 2023) (declining to give
weight to objective indicia at the institution stage, and allowing Petitioner an
opportunity to test Patent Owner’s evidence through discovery and trial);
MOM Enterprises, LLC v. Elaine and Reinhold W. Vieth, IPR2023-00726,


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Paper 10 at 44–45 (PTAB Sept. 15, 2023) (same); Amneal Pharms., LLC v.
Supernus Pharms., Inc., IPR2013-00368, Paper 8 at 12–13 (PTAB Dec. 17,
2013) (same)). We will reevaluate argument about objective indicia of
nonobviousness as appropriate on a fully-developed record.
      Moreover, we are not persuaded on the present record that Patent
Owner has established a sufficient nexus between the claims and the asserted
objective indicia of nonobviousness. Prelim. Resp. 65–69. Such indicia are
“only relevant to the obviousness inquiry ‘if there is a nexus between the
claimed invention and the [objective indicia].’” In re Affinity Labs of Tex.,
LLC, 856 F.3d 883, 901 (Fed. Cir. 2017) (quoting Ormco Corp. v. Align
Tech., Inc., 463 F.3d 1299, 1312 (Fed. Cir. 2006)). “The patentee bears the
burden of showing that a nexus exists.” WMS Gaming Inc. v. Int’l Game
Tech., 184 F.3d 1339, 1359 (Fed. Cir. 1999); Fox Factory, Inc. v. SRAM,
LLC, 944 F.3d 1366, 1373 (Fed. Cir. 2019) (explaining that nexus may be
presumed “when the patentee shows that the asserted objective evidence is
tied to a specific product and that product embodies the claimed features,
and is coextensive with them”) (internal quotations marks and citation
omitted).
      Patent Owner argues that a nexus should be “presumed” because the
challenged claims are “coextensive” with Spikevax. Prelim. Resp. 65–69.
Petitioner’s evidence falls short of making that showing. First, Patent
Owner provides no declarant testimony that compares the claims with the
features of Spikevax, much less any testimony that establishes Patent
Owner’s vaccine is “coextensive” with the claims. Volvo Penta of the
Americas, LLC, v. Brunswick Corp., 81 F.4th 1202, 1211 (Fed. Cir. 2023)


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(holding conclusory assertions and limited expert testimony that only
confirms a patentee’s products embody the claims “is insufficient to show a
presumption of nexus”). Second, even assuming Spikevax is within the
scope of the claims as Patent Owner argues, that alone does not establish
coextensiveness. See id.; see also Fox Factory, 944 F.3d at 1377 (holding a
nexus is not established simply by showing that “the patent claims broadly
cover the product that is the subject of the evidence of secondary
considerations”); Application of Tiffin, 448 F.2d 791, 791–792 (CCPA 1971)
(finding that “appellants’ evidence of commercial success and the
satisfaction of a long-felt need, both the success and the need being with
respect to ‘cups’ used in vending machines, was sufficient to overcome the
Patent Office’s case of prima facie obviousness” for claims reciting “cups”
but not for claims “reciting ‘containers’ generally”); see also In re Ikeda
Food Research Co., Ltd. 758 Fed. Appx. 952, 959–960 (Fed. Cir 2019)
(affirming Board’s determination of obviousness where asserted objective
indicia was not commensurate in scope with claims); In re Greenfield, 571
F.2d 1185, 1189 (CCPA 1978) (same).
      The claims purport to encompass immunogenic vaccines encoding a
spike protein (or subunit) for any betacoronavirus. See supra § I(D). Yet
betacoronavirus is a genus of viruses and is broader than the specific SARS-
CoV-2 virus (and its variants) for which Patent Owner submits alleged
objective indicia. Compare, e.g., Ex. 2010, 28 (prescribing information
cited by Patent Owner on Spikevax for SARS-CoV-2 Omicron variant
lineage XBB.1.5), with Ex. 1029, 810 (taxonomic tree for the sub-family
Coronavirinae, listing betacoronavirus as one of several genera, itself


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including four separate lineages, such as SARS-related coronavirus under
lineage B, and murine coronavirus and Betacoronavirus 1 under lineage A).
Patent Owner does not, on this preliminary record, address the breadth of the
claims against the comparative narrowness of its evidence.
      We recognize Patent Owner’s contentions about alleged industry
praise, failure of others, and industry skepticism related to mRNA
therapeutics. However, without a sufficient nexus showing, and with no
evidence that Petitioner was aware of Patent Owner’s assertions, we give
that argument and evidence no weight at this stage.35

             6.   Claims 2, 4–6, 8–12, 16, 17, 20, 21, and 26
      Petitioner contends that claims 2, 4–6, 8–12, 16, 17, 20, 21, and 26 are
taught or suggested in the prior art, and that the skilled artisan would have
predictably modified the prior art to the extent needed to arrive at the
claimed subject matter with a reasonable expectation of success. Pet. 42–48.
Petitioner’s contentions are supported by citation to the prior art and expert
testimony. Id. Patent Owner does not differentiate its arguments by claim,
relying on the same arguments for all of the claims. On this preliminary
record, and for the reasons discussed above, we do not find Patent Owner’s
rebuttal arguments persuasive.

             7.   Conclusion Regarding Compelling Merits
      For the reasons set forth above, we determine that Ground 2 of the
Petition presents a compelling meritorious challenge. That is, “the evidence,


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  Patent Owner’s arguments here on skepticism also materially overlap with
argument that we addressed above. See Section §§ III.E.3.b and IIII.E.4.c.

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if unrebutted in trial, would plainly lead to a conclusion that one or more
claims are unpatentable by a preponderance of the evidence.” Guidance
Memo 4. As the Director explains in OpenSky, however, this finding
“should not be taken as a signal to the ultimate conclusion after trial”
because “all relevant evidence likely will not have been adduced at the point
of institution [and] trial should produce additional evidence that may support
a determination in the Final Written Decision that unpatentability has not
been adequately proven.” OpenSky, IPR2021-01064, Paper 102 at 49– 50.
Here, we note that the current record does not include evidence tying
Spikevax to the challenged claims and thus we accorded no weight to Patent
Owner’s evidence of objective indicia and that Patent Owner has not
supported its contentions with citation to expert testimony.
      Because we find that Ground 2 of the Petition presents a compelling
meritorious challenge to at least claim 1 of the ’600 patent, we decline to
exercise discretion to deny institution under § 314(a). Guidance Memo 5
(“[T]he PTAB will not deny institution based on Fintiv if there is compelling
evidence of unpatentability.”); CommScope, Paper 23 at 4 (same).

              IV.    ANALYSIS OF GROUNDS 1, 3, AND 4
      A.     Ground 1: Anticipation by Schrum
      To show anticipation under 35 U.S.C. § 102, each and every claim
element, arranged as in the claim, must be found in a single piece of prior
art. Net MoneyIN, Inc. v. VeriSign, Inc., 545 F.3d 1359 (Fed. Cir. 2008).
      Petitioner argues that claims 1, 2, 4–6, 8–12, 16, 17, 20, 21, and 26 are
anticipated by Schrum. Pet. 22–38. Patent Owner opposes this argument.



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Prelim. Resp. 36–46. The parties’ arguments on claim 1 are illustrative and
summarized below, followed by our discussion. According to Petitioner,
Schrum “disclose[s] the same standard mRNA and lipid nanoparticle
components” claimed in the ’600 patent and further discloses, through
Schrum’s incorporation-by-reference of Geall, “encoding the spike (S)
protein of a betacoronavirus, SARS-CoV, in an mRNA composition” as
claimed. Pet. 22.
      More specifically, Petitioner argues that Schrum discloses
administering an mRNA vaccine to elicit an immune response in a mammal.
Pet. 22–23 (citing, e.g., Ex. 1009 ¶¶ 3–5, 340, 342). According to Petitioner,
this disclosure meets claim 1’s preamble (if it is limiting). Id. For claim 1’s
recitation that the mRNA encodes a BetaCoV S protein or S protein subunit,
Petitioner argues this limitation is met through Schrum’s incorporation of
Geall’s disclosure, including Geall’s teaching that “the immunogen elicits an
immune response” against “viruses” including “SARS coronavirus” and that
“[t]he coronavirus immunogen may be a spike polypeptide.” Ex. 1010,
18:11, 19:26–29; Pet. 24–25. Petitioner acknowledges that Geall lists
SARS-CoV spike protein among several other potential immunogens, but
argues that Schrum and Geall together are nonetheless anticipatory. Pet. 25–
26 (citing, e.g., Perricone v. Medicis Pharm. Corp., 432 F.3d 1368, 1376
(Fed. Cir. 2005)).
      Altogether, Petitioner argues that “Schrum discloses combining the
components of claim 1, as arranged in the claim” in a manner “more than
sufficient to be anticipatory.” Pet. 27. Moreover, Petitioner contends, a
“POSA would readily envisage creating the modified mRNA compositions


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(i.e., vaccines) described in Schrum—including those encoding the
betacoronavirus S protein—using the disclosed lipid nanoparticles.” Id.
(citing Ex. 1009 ¶¶ 342, 378, 397).
      Patent Owner raises four counterarguments. Prelim. Resp. 36
(summarizing arguments). First, Patent Owner contends, Petitioner has not
shown that Schrum/Geall discloses an S protein as claimed. Id. at 44–45.
Seccond, Patent Owner argues that Petitioner has not shown Schrum and
Geall, even assuming Geall is incorporated in its entirety into Schrum, 36
arrange the elements in the same way recited in claim 1. Id. at 37–41
(citing, e.g., In re Arkley, 455 F.2d 586, 587 (CCPA 1972)). Third, Patent
Owner argues that Petitioner has not shown that a POSA would “at once
envisage” claim 1’s method from the disclosure of Schrum/Geall. Id. at 41–
43 (citing, e.g., Kennametal, Inc. v. Ingersoll Cutting Tool Co., 780 F.3d
1376, 1381 (Fed. Cir. 2015)). And fourth, according to Patent Owner,
Petitioner has not established that a POSA would be led to a “small
recognizable class with common properties,” which class includes the
claimed subject matter, from among, at best, an alleged genus of mRNA
compositions and immunogens described in Schrum/Geall. Id. at 43–44
(citing, e.g., Sanofi-Synthelabo v. Apotex, Inc., 550 F.3d 1075, 1084 (Fed.
Cir. 2008)).



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  Patent Owner assumes for purposes of its preliminary response that
Geall’s disclosure is incorporated-by-reference into Schrum. Prelim. Resp.
36 n.4. For purposes of this decision, we also consider Geall’s teachings to
be fully incorporated into Schrum. We may, thus, refer to this collective
disclosure as Schrum/Geall in addressing the anticipation arguments herein.

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      Patent Owner’s first argument––i.e., that Schrum/Geall does not
disclose an S protein as claimed––is unavailing on this preliminary record
for the reasons discussed above. See supra §III.E.3.a.
      Patent Owner’s remaining arguments may have some merit and Patent
Owner may prevail on such arguments at trial (assuming the argument is
preserved in the Patent Owner Response). We determine, however, that
Petitioner’s anticipation challenge and any counterargument from Patent
Owner should be considered and resolved on a fully-developed evidentiary
record, 37 especially because we have decided that at least Ground 2 meets
the standard for institution and all grounds must, therefore, be included in
trial. See SAS, 138 S. Ct. at 1355. We provide the discussion below based
on the preliminary record to give guidance to the parties.
      Patent Owner’s second argument is that Petitioner’s anticipation
challenge should fail because Schrum/Geall does not combine or arrange
those elements exactly as set forth in claim 1. Prelim. Resp. 37–41. More
specifically, Patent Owner contends, Petitioner must pick and choose from
unrelated disclosures and long lists in Schrum/Geall to arrive at claim 1’s
subject matter. Id. (arguing such picking and choosing cannot show
anticipation). According to Patent Owner, Petitioner cites from one
“generic” section of Schrum about mRNA vaccines, yet, in that section,
Schrum describes at least “two payload options”—mRNA and saRNA. Id.



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  Mylan Pharm., Inc. v. Merck Sharp & Dohme Corp., 50 F.4th 147, 152–
154 (Fed. Cir. 2022) (explaining that “[a]nticipation is a question of fact”
and affirming the Board’s finding that the asserted art did not anticipate the
claimed salt).

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at 38 (citing Ex. 1009 ¶¶ 340–350). Because that section does not disclose
claim 1’s recitations about the lipid nanoparticle formulation, Patent Owner
contends Petitioner points to “a separate section of Schrum” to suggest that
Schrum’s mRNA molecules may be encapsulated in lipid nanoparticles. Id.
at 40 (citing Ex. 1009 ¶ 409). And, to find the BetaCoV spike (S) protein,
Patent Owner contends that Petitioner relies on Geall’s listing of
immunogens “spanning seven pages and over 500 different immunogen
options.” Id. at 38 (citing Ex. 1010, 15:32–22:35). Patent Owner contends
that Petitioner is, therefore, picking the claimed combination of mRNA
vaccine, encapsulated in a lipid nanoparticle, and encoding a BetaCoV spike
protein from “at least one thousand” possible combinations (i.e., two
payload options (x) five hundred immunogens) disclosed in Schrum/Geall.
Id. at 39.
       Whether a POSA would need to engage in forbidden picking and
choosing to anticipate claim 1’s subject matter is best resolved on a fully-
developed record. Answering this question will likely turn on the breadth of
the Schrum/Geall disclosure and the extent to which there is a sufficiently
close connection between the relevant teachings. Arkley, 455 F.2d at 587
(holding that an anticipating reference “must clearly and unequivocally
disclose the claimed compound or direct those skilled in the art to the
compound without any need for picking, choosing, and combining various
disclosures not directly related to each other by the teachings of the cited
reference”) (emphasis added).
       Based on the preliminary record, we are somewhat skeptical that a
POSA reading Schrum/Geall would consider the teachings about mRNA


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vaccines and encapsulation of such vaccines in lipid nanoparticles to be
unrelated. Schrum discloses generally that the modified mRNA of the
invention can be formulated into lipid nanoparticles and, in embodiments,
that “the lipid nanoparticle may be formulated for use in a vaccine such as,
but not limited to, against a pathogen.” See, e.g., Ex. 1009 ¶¶ 378, 397; 38
Bristol-Myers Squibb Co. v. Ben Venue Labs., Inc., 246 F.3d 1368, 1379
(Fed. Cir. 2001) (explaining that anticipation does not require actual
performance of what a reference describes).
      We see some merit in Patent Owner’s contention that Schrum’s
paragraph citing Geall does not specifically direct the POSA to Geall’s listed
immunogens or the claimed BetaCoV spike (S) protein in particular. Prelim.
Resp. 40–41. The paragraph is somewhat “generic” and, in context, appears
to refer to Geall for immunogenic “dose amounts.” Id. (arguing that the
paragraph, quoted in full, cites Geall for a discussion of dose amounts and
“not any particular immunogen”); Ex. 1009 ¶ 342. Petitioner’s suggestion
that Schrum incorporates Geall “for [its] teaching of disclosed immunogens”
may, thus, be overstated. Pet. 23–24.
      Notwithstanding the above, this same paragraph states that Geall (and
one other reference) is “incorporated by reference in [its] entirety.” Ex.
1009 ¶ 342. If all of Geall’s teachings are added, Schrum/Geall’s


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   See also Ex. 1009 ¶ 346 (teaching that the “mmRNA of the invention may
be formulated using methods described herein or known in the art” and
identifying, as a “non-limiting example,” the methods in Geall 2012
(Ex. 2021), which describes formulating self-amplifying RNA vaccines in
lipid nanoparticles). Schrum states that Geall 2012 is “incorporated by
reference in its entirety.” Ex. 1009 ¶ 346.

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comprehensive disclosure would then include a list of immunogens—
including a listing of a BetaCoV spike protein. Ex. 1010, 19:26–29
(disclosing that the immunogen may be derived from a “SARS coronavirus”
and “may be a spike polypeptide”). Schrum without Geall does not appear
to identify any specific immunogen. But, with Geall’s incorporated
disclosure, it seems reasonable and logical that a POSA reading Schrum’s
teachings about using mRNA vaccines to encode immunogenic proteins
would look to the only listing of immunogens available in the now-expanded
reference. See Ex. 1009 ¶¶ 340–350. In that sense, a POSA may well
understand the listing of immunogens—even if lengthy—as being related to
Schrum/Geall’s more general disclosures about mRNA vaccines that encode
immunogens.39
      To summarize, we see Patent Owner’s second argument as raising the
question whether Schrum/Geall discloses mRNA lipid nanoparticle vaccines
with sufficient clarity that the POSA would not need to pick and choose to

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   Sinclair, 325 U.S. at 333 (reversing determination that patent was not
anticipated by prior art explaining, “[r]eading a list and selecting a known
compound to meet known requirements is no more ingenious than selecting
the last piece to put into the last opening in a jig-saw puzzle”); Eli Lilly and
Co. v. Los Angeles Biomedical Res. Inst. at Harbor-UCLA Med. Ctr., 849
F.3d 1073, 1074–75 (Fed. Cir. 2017) (noting that anticipatory prior art may
be such that a POSA would reasonably understand or infer that the claimed
subject matter is disclosed, while art that merely “suggests” the claimed
subject matter is not sufficient under § 102); In re Gleave, 560 F.3d 1331,
1334–38 (Fed. Cir. 2009) (explaining that, “[f]or the purposes of whether
they are anticipatory, lists and genera are often treated differently,” and
affirming anticipation of claims to “antisense” sequences by art “expressly
list[ing] every possible fifteen-base-long [sense] oligodeoxynucleotide
sequence in IGFBP-2,” in a list with “more than 1400 sequences”).

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identify them as a delivery vehicle such that all that remains to anticipate the
claims is to select BetaCoV spike (S) protein as the immunogen to be
encoded by the mRNA vaccine. We find that this question is best resolved
on a more complete record at trial.
      In its third argument against anticipation, Patent Owner contends that
Petitioner’s assertion that a POSA would “envisage” the claimed subject
matter is insufficient. Prelim. Resp. 41–43. According to Patent Owner,
Petitioner does not support its contention that a POSA would “readily
envisage” the method of claim 1 from Shrum/Geall—noting that the Petition
“includes [only] two conclusory sentences” on this question. Id. at 42
(citing Pet. 27). Further, Patent Owner argues, Petitioner provides “no
reason a POSA would at once envisage the claimed combination from
among a thousand options.” Id. at 43.
      Insofar as Petitioner is invoking a theory based on a POSA
“envisaging” claim 1’s subject matter, Petitioner provides little explanation.
Petitioner includes one sentence, and no declarant testimony, that directly
addresses this issue. Pet. 27. Based on the Federal Circuit’s guidance,
whether a POSA would “at once envisage” the claimed subject matter from
a single reference depends on multiple factual considerations—including,
inter alia, the number and diversity of possible options/combinations in the
reference. See, e.g., Mylan, 50 F.4th at 153–154 (declining to impose a
bright-line number of options that may be envisaged in a “limited class,”
explaining it “depends on the ‘class’” and reinforcing that “[t]he key term




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here is ‘limited’”)40; Blue Calypso, LLC v. Groupon, Inc., 815 F.3d 1331,
1343–44 (Fed. Cir. 2016) (affirming finding of anticipation by reference that
“disclose[d] a limited number of [advertising] tools” and disclosed
combining tool functionalities); In re Ruschig, 343 F.2d 965, 973–74 (CCPA
1965) (reversing anticipation rejection by art disclosing 130 and 156
possible compounds; distinguishing from the 20 compounds in Petering
derived by substituting “closely related units” such as “H and CH(3)” at
certain molecular positions, unlike the “widely differing” and “diverse”
chemical substituent combinations of the art in the rejection at issue).41
      Patent Owner’s criticism of Petitioner’s “envisaging” theory is not
without basis. As already noted, the Petition includes little analysis
supporting it. Moreover, as asserted by Patent Owner, the disclosure of
immunogens in Schrum/Geall is broad and encompasses many hundreds of
options. Ex. 1010, 15:32–22:35. Indeed, Schrum/Geall discloses that such
immunogens may be derived from, and elicit immune responses to, not only



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   In Mylan, the court held that “the Board did not err in finding that a class
of 957 predicted salts” that may (or may not) form if combining disclosed
acids and compounds “is insufficient to meet the ‘at once envisage’ standard
set forth in Petering.” Mylan 50 F.4th at 154 (finding 957 possible salts “is
a far cry from the 20 compounds ‘envisaged’ by the narrow genus in
Petering”); In re Petering, 301 F.2d 676, 681 (CCPA 1962).
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   As the court in Ruschig further explained, Petering was distinguished
because that case involved “some 20 compounds in a limited class, the
members of which were very similar to one another in structure and all of
which possessed the same properties.” In re Ruschig, 343 F.2d at 973–74
(holding that, even by dissecting the art’s example compounds and
“recombin[ing] them into different compounds than those named, we do not
get a small recognizable class with common properties”).

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viruses and viral proteins, but bacteria, fungi, and parasites. Ex. 1010,
15:32–21:19; see also id. at 15:34–16:7, 21:20–22:35 (also listing several
“allergens” and “tumor antigens” among the immunogens). Petitioner
leaves essentially unexplained at this stage how and why the “at once
envisage” precedents apply under these circumstances. We will revisit as
appropriate on a fully-developed record.
      In its fourth argument against anticipation, Patent Owner asserts that,
for a disclosed genus to anticipate a claimed species, the anticipatory
reference must “lead a [POSA] to a small recognizable class with common
properties.” Prelim. Resp. 43 (citing Sanofi-Synthelabo, 550 F.3d at 1084).
According to Patent Owner, although “Schrum and Geall disclose, at most, a
broad genus of at least a thousand options, Petitioner does not mention or
apply this standard.” Id.; see also id. at 44 (arguing “Petitioner makes no
showing that Geall’s listed immunogens would have common properties”).
      Patent Owner’s argument is subsumed into our discussion above
about the sufficiency of Petitioner’s showing on an “envisaging” theory.
Despite Patent Owner’s suggestion to the contrary, the language about a
“small recognizable class with common properties” taken from Sanofi-
Synthelabo did not announce a new or different anticipation “standard.” To
the contrary, the quoted language comes originally from Ruschig and
concerned whether a POSA would at once “envisage” a claimed species
based on the “mechanistic dissection and recombination” of parts of
chemical compounds exemplified in the prior art. In re Ruschig, 343 F.2d at
974–75. And, the court held that such an approach was not permissible
because, unlike the situation in Petering where the court determined that a


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POSA would “at once envisage” the claimed species from a broader genus
disclosed in the art, the resulting class of possible combinations in Ruschig
was neither “small” nor representative of compounds with “common
properties.” Id. (citing and distinguishing Petering); Sanofi-Synthelabo, 550
F.3d at 1084 (citing Ruschig for genus/species anticipation and explaining
that, in Ruschig, “the court declined to find the disclosed genus anticipatory
of everything within its scope”).42 Thus, the “small recognizable class with
common properties” language is simply another articulation of
considerations relevant to whether a POSA would at once envisage the
claimed species within a genus disclosed in the art. This is a question we
will decide, if necessary, based on a complete trial record.

      B.   Ground 3 (Obviousness over Schrum and Yang) and
      Ground 4 (Obviousness over Schrum and Altmeyer)
      Petitioner additionally argues that claims 1, 2, 4–6, 8–12, 16, 17, 20,
21, and 26 would have been obvious over Schrum in combination with Yang
(Ground 3), or Schrum in combination with Altmeyer (Ground 4). Pet. 48–
57 (Ground 3), 57–69 (Ground 4).
      Taking claim 1 as illustrative, Petitioner’s arguments for Grounds 3
and 4 largely mirror those under Ground 2, except that, in Grounds 3 and 4,
Petitioner additionally relies on Yang and Altmeyer, respectively, for
disclosure of an immunogen that is a SARS-CoV spike (S) protein. See,

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  Further, in Sanofi-Synthelabo, the Federal Circuit affirmed the district
court’s determination that a reference’s generic statement about compounds
existing in enantiomers was not a sufficient, anticipatory disclosure of a
separated dextrorotatory enantiomer of PCR 4099, as claimed. Sanofi-
Synthelabo, 550 F.3d at 1084.

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e.g., Pet. 48–49 (citing Ex. 1011, 561–562), 58–59 (citing Ex. 1012, Abstr.,
¶¶ 60, 98). Petitioner also cites results disclosed in Yang and Altmeyer as
suggesting to the POSA that nucleic-acid vaccines targeting the S-protein of
SARS-CoV would be immunogenic and successful, and supporting the
POSA’s motivation to use mRNA vaccines as disclosed in Schrum to encode
and express that protein. Id. at 50–52 (citing Ex. 1011, 561–562; Ex. 1020,
10 (describing advantages of mRNA vaccines over DNA vaccines), 59–61
(citing Ex. 1012 ¶ 116, Figs. 7–8).
      Petitioner supports its contentions on Grounds 3 and 4 with testimony
from Drs. Griffin and Moon. Ex. 1002 ¶¶ 141–150 (testifying, inter alia,
that “mRNA vaccines were known to have significant advantages over DNA
vaccines” including “better protein production” and avoidance of
“integrat[ion] into the host cell” genome), 174–184 (testifying, inter alia,
that Altmeyer “reports on data demonstrating that mRNA administered in an
effective amount induces an immune response to the BetaCoV S protein or S
protein subunit.”)” (citing Ex. 1012 ¶ 116). Patent Owner provides no
rebuttal testimony from a qualified declarant of its own at this stage.
      Patent Owner’s counterarguments for Grounds 3 and 4 are also similar
to those addressed above under Ground 2. We discuss briefly below.
      Patent Owner contends that Petitioner fails to identify a “Spike”
protein in the proposed combination of Schrum with Yang or Altmeyer.
Prelim. Resp. 58, 62. This argument is unpersuasive on this preliminary
record as already explained. At least Schrum, through its incorporation-by-
reference of Geall, appears to teach or suggest a betacoronavirus spike
protein as construed. See supra § III.E.2.


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      Patent Owner contends that a POSA would not have been motivated
to pursue mRNA vaccines over the exemplified DNA vaccines (of Yang) or
viral vector vaccines (of Altmeyer). Id. at 57–58 (arguing the field had
concerns with mRNA, including its stability, and had focused instead on
DNA vaccines), 60–62 (arguing mRNA was considered relatively unstable
and vector vaccines were generally regarded as the most efficient means of
nucleic acid delivery). These arguments are unavailing. As discussed
above, the art suggested that mRNA vaccines were active and had
advantages over, for example, DNA vaccines. See, e.g., Ex. 1020, 10–11
(noting “reports on nucleotide-based vaccines showed that vaccines
produced on DNA or mRNA basis had similar activity” and early focus on
DNA vaccines was “erroneous” relative to the lower costs, faster production,
and flexibility of mRNA vaccines, especially “for pandemic scenarios,”
along with the fact that “mRNA carries no risk of genomic integration,”
giving mRNA “an inherent safety advantage over DNA-based
therapeutics”).43 Moreover, even if the art perceived that DNA or viral-
vector vaccines were better in some respects, that would not necessarily



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  To the extent Patent Owner maintains the position that concerns about
mRNA stability or innate immunogenicity would have discouraged its use,
Patent Owner should address whether POSAs would have expected known
LNP formulation techniques and nucleotide base modifications (e.g.,
pseudouridine for uridine) to mitigate those concerns. See, e.g., Exs. 1021,
165 (disclosing that “nucleoside modifications suppress the potential of
RNA to activate DCs [(dendritic cells)]”); Ex. 1032, 231 (describing
development of lipid delivery systems to protect mRNA from in vivo
degradation); Ex. 1062, 1:8–9 (describing “[l]ipid nanoparticles (LNP) are
the most clinically advanced drug delivery systems”).

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support a conclusion of nonobviousness. In re Fulton, 391 F.3d 1195, 1200
(Fed. Cir. 2004) (“[O]ur case law does not require that a particular
combination must be the preferred, or the most desirable, combination
described in the prior art in order to provide motivation for the current
invention.”); Intel Corp. v. Qualcomm Inc., 21 F.4th 784, 800 (Fed. Cir.
2021) (“[It is] not necessary to show that a combination is the best option,
only that it be a suitable option.”) (internal quotation marks omitted).
      Patent Owner also argues that a POSA would not have reasonably
expected success in combining Schrum with Yang or Altmeyer to reach the
claimed subject matter. Prelim. Resp. 58–60, 62–65 (cross-referencing
counterargument for Ground 2). Patent Owner contends that Petitioner’s
reliance on different vaccine types (e.g., DNA, viral vector) is insufficient to
provide a reasonable expectation as to mRNA vaccines. Id. We do not, on
this record, agree. That neither Yang nor Altmeyer expressly disclose
mRNA vaccines is not decisive because that disclosure is supplied by
Schrum, which also suggests that such vaccines can be made and would
induce an immune response in the recipient. See, e.g., Ex. 1009 ¶¶ 340–350.
We addressed above Patent Owner’s arguments about alleged skepticism
and potential disease enhancement with mRNA vaccines. See §§ III.E.3.b,
III.E.4.c, and III.E.4.e. Whether Dr. Griffin is misreading Altmeyer’s results
(as argued by Patent Owner (Prelim. Resp. 63–64)) or whether other
characteristics of DNA or viral vector vaccines would mean a POSA would
conclude that any results with such vaccines are inapposite to mRNA
vaccines are questions we will revisit, as necessary, on a fully-developed
record.


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                            V.      CONCLUSION
      We determine that there is a reasonable likelihood that Petitioner
would prevail with respect to at least one of the claims challenged in the
Petition. We further decline to deny the Petition on a discretionary basis.
We, therefore, institute inter partes review.
      Any argument not raised in a Patent Owner Response to the Petition,
or as permitted in another manner during trial, shall be deemed waived even
if asserted in the Preliminary Response. In addition, nothing in this Decision
authorizes Petitioner to supplement information advanced in the Petition in a
manner not permitted by the Board’s Rules.

                          VI.     MOTIONS TO SEAL
      Patent Owner and Petitioner have each filed motions to seal. Paper 11
(Patent Owner Motion to Seal (“PO Mot.”)); Paper 12 (Petitioner’s Motion
to Seal (“Pet. Mot.”)).
      Patent Owner moves to seal Exhibits 2050–2052, 2056, 2057, and
portions of Exhibit 2060. PO Mot. 1–4. Patent Owner also moves for entry
of a protective order. Ex. 2059 (“Modified Protective Order”); Ex. 2058
(redline showing differences between “Modified Protective Order” and the
Board’s Default Protective Order). Petitioner moves to seal portions of
Petitioner’s Preliminary Statement Regarding Patent Owner’s Inconsistent
Statements (Paper 13 (“Pet. Prelim. Stmt.”)). Pet. Mot. 1; see also Paper 15
(public/redacted version of Pet. Prelim. Stmt.). Neither motion is opposed.
      The Board recognizes “a strong public policy for making all
information filed in a quasi-judicial administrative proceeding open to the
public, especially in an inter partes review which determines the

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patentability of claims in an issued patent and therefore affects the rights of
the public.” Garmin Int’l v. Cuozzo Speed Techs., LLC, IPR2012-00001,
Paper 34 (PTAB Mar. 14, 2013), 1–2. Except as otherwise ordered by the
Board, the record of an inter partes review shall be made available to the
public. 35 U.S.C. § 316(a)(1); 37 C.F.R. § 42.14.
      The moving party bears the burden of showing that the relief
requested should be granted. 37 C.F.R. § 42.20(c). The standard for
granting a motion to seal is “for good cause.” 37 C.F.R. § 42.54(a).
      Patent Owner contends that good cause exists to seal the exhibits that
are the subject of its motion. PO Mot. 2–4. More specifically, Patent Owner
contends that the exhibits comprise confidential investigator brochures about
Patent Owner’s vaccine candidates (Exs. 2050–2052), confidential pre-
investigational new drug application meeting materials (Ex. 2056), an
unpublished technical vaccine paper from one of Patent Owner’s scientists
(Ex. 2057), and a chart (Ex. 2060) that contains confidential excerpts from
the foregoing exhibits. Id. Patent Owner also contends that Exhibits 2050–
2052, 2056, and 2057 have been designated as confidential (or highly
confidential) and subject to a protective order in the related litigation. Id.
      Having considered the exhibits and Patent Owner’s unopposed
argument, we determine that Patent Owner has shown good cause to seal the
exhibits in question. The exhibits appear to include Patent Owner’s
confidential technical information related to its vaccine products in which
Patent Owner has an interest in keeping private; and such interest, at this




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stage, outweighs the public’s need for access to that information.44 Exhibits
2050–2052, 2056, and 2057 are, thus, sealed subject to further order from
the Board. For the same reasons, Exhibit 2060 is sealed, and we note Patent
Owner’s submission of Exhibit 2061, which is a partially-redacted, public-
version of Exhibit 2060.
      We have also considered Patent Owner’s unopposed motion for a
protective order, which motion is granted. As shown in Exhibit 2058, the
proposed changes to the Board’s Default Protective Order are minimal,
removing access to certain party representatives including employees.
Ex. 2058, 1–2. Those changes appear to be justified under the circumstances
to prevent, for example, the parties’ employees from inadvertently accessing
the opposing party’s confidential technical information. PO Mot. 4–5. The
Modified Protective Order (Exhibit 2059) is, therefore, entered and will
control access to confidential materials in this proceeding absent a further
order from the Board modifying such access.
      Petitioner’s motion to seal is also granted. Petitioner establishes good
cause to seal portions of Paper 13 (for which a public/redacted version is
also provided in the record as Paper 15) for the same reasons explained
above on Patent Owner’s motion. Petitioner’s Paper 13 includes information
taken from the same exhibits that are the subject of Patent Owner’s motion
and which Patent Owner has designated as confidential, protective order
material. Pet. Mot. 1.


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  This balancing of interests may change at later stages of this proceeding
and depending, for example, on the extent to which the Board may rely on
the allegedly confidential materials in any Final Written Decision.

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                                 VII. ORDER
      In consideration of the foregoing, it is hereby:
      ORDERED that, pursuant to 35 U.S.C. § 314(a), inter partes review
of all challenged claims of the ’600 patent is instituted on all grounds of
unpatentability set forth in the Petition.
      FURTHER ORDERED that, pursuant to 35 U.S.C. § 314(a) and
37 C.F.R. § 42.4, notice is given of institution of trial commencing on the
entry date of this Decision.
          FURTHER ORDERED that Patent Owner’s Motion to Seal
(Paper 11) is granted, and Exhibits 2050–2052, 2056, 2057, and 2060 are
sealed;
      FURTHER ORDERED that Petitioner’s Motion to Seal (Paper 13) is
granted, and Paper 14 is sealed;
      FURTHER ORDERED that the Modified Protective Order (Ex. 2059)
is entered; and
      FURTHER ORDERED that, within ten (10) days of this Decision, the
parties will meet and confer and submit an agreed-to, public-version of the
Decision with redactions as appropriate.




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